APPENDIX 1
                        Plaintiffs’ Motion in Limine Seeking Judicial Notice of Government Documents
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                                                                                           Website URL for          Plaintiffs
Exh.            Title of Document               Date    Bates Numbers    Author of
                                                                                             Document               Accessed
                                                                         Document
                                                                                                                    Document
1      Restoring the Quality of Our           Nov.      P00000029976-   Report of the    http://hdl.handle.net/2
       Environment.                           1965      P00000029995    Environmenta     027/uiug.3011206773
                                                                        l Pollution      3771
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                                                                        President’s
                                                                        Science
                                                                        Advisory
                                                                        Committee.
2      Memorandum from Daniel Moynihan Sept. 17, P00000029996-          Daniel           https://www.nixonlibr
       to John Ehrlichman              1969      P00000029997           Moynihan         ary.gov/virtuallibrary/r
                                                                                         eleases/jul10/56.pdf
3      Understanding Climatic Change. A       1975      P00000039145-   National         https://archive.org/det
       Program for Action                               P00000039414    Academy of       ails/understandingcli0
                                                                        Sciences         0unit
4      Memorandum from Frank Press to         July 7,   P00000030009-   Frank Press
       the President, Release of Fossil CO2   1977      P00000030010
       and the Possibility of Catastrophic
       Climate Change
5      Carbon Dioxide and Climate: A          1979      P00000030548-   National         https://www.bnl.gov/e
       Scientific Assessment                            P00000030565    Academy of       nvsci/schwartz/charne
                                                                        Sciences (Jule   y_report1979.pdf
                                                                        Charney,
                                                                        Chairman)
6      Environmental Quality: The Eight       1977      P00000030011-   Council on       https://www.slideshare
       Annual Report of the Council on                  P00000030486    Environmenta     .net/whitehouse/august
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     Environmental Quality                                            l Quality       -1977-the-eighth-
                                                                                      annual-report-of-the-
                                                                                      council-on-
                                                                                      environmental-quality
7    Environmental Quality: The Eleventh   Dec.       P00000030556-   Council on      https://www.slideshare
     Annual Report of the Council of       1980       P00000031149    Environmenta    .net/whitehouse/august
     Environmental Quality                                            l Quality       -1980-the-eleventh-
                                                                                      annual-report-of-the-
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8    Solar Energy: Progress and Promise    April      P00000030487-   Council on      https://files.eric.ed.gov
                                           1978       P00000030544    Environmenta    /fulltext/ED164264.pd
                                                                      l Quality       f
9    Golden, Colorado Remarks at the       May 3,     P00000030545-   Jimmy Carter    http://www.presidency
     Solar Energy Research Institute on    1978       P00000030547                    .ucsb.edu/ws/print.php
     South Table Mountain                                                             ?pid=30746
10   Global Energy Futures and the         1981       P00000031150-   Council on      http://hdl.handle.net/2
     Carbon Dioxide Problem                           P00000031258    Environmenta    027/umn.31951d0035
                                                                      l Quality       73546
11   National Energy Program Fact Sheet    April      P00000029998-   Jimmy Carter    http://www.presidency
     on the President’s Program            20, 1977   P00000030008                    .ucsb.edu/ws/print.php
                                                                                      ?pid=7373
12   Proceedings of the Workshop on First June 8-     P00000031259-   U.S. Dept. of   http://hdl.handle.net/2
     Detection of Carbon Dioxide Effects 10, 1981     P00000031819    Energy,         027/uc1.31822016268
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13   Energy and Climate                    1977       P00000039415-   National
                                                      P00000039589    Research
                                                                      Council
14   Projecting the Climatic Effects of    Dec.       P00000032164-   U.S. DOE        https://www.researchg
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     Increasing Carbon Dioxide            1985       P00000032575                    ate.net/profile/Michael
     (DOE/ER-0237)                                                                   _MacCracken/publicat
                                                                                     ion/236534420_Projec
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                                                                                     rbon_Dioxide/links/56
                                                                                     8edcd108aead3f42f07
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15   Detecting the Climatic Effects of    Dec.       P00000032917-   U.S. DOE        https://www.osti.gov/s
     Increasing Carbon Dioxide            1987       P00000033145                    ervlets/purl/6264945
     (DOE/ER-0235)

16   Atmospheric Carbon Dioxide and       1985       P00000032576-   U.S. DOE        https://www.osti.gov/s
     Global Carbon Cycle (DOE/ER-                    P00000032916                    ervlets/purl/6048470
     0239)
17   Hearing before the U.S. Senate       June 23,   P00000036792-   Dr. James
     Committee on Energy and Natural      1988       P00000037010    Hansen
     Resources. Part 2.
18   Environmental Quality: 13th Annual   1982       P00000031820-   Council on      https://www.slideshare
     Report of the Council on                        P00000032163    Environmenta    .net/whitehouse/august
     Environmental Quality                                           l Quality       -1982-the-thirteenth-
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19   PRD-12/Global Climate Change                    P00000029864-   U.S. Dept. of
     Policy Decision Paper                           P00000029871    State

20   National Energy Strategy: Powerful   Feb.       P00000033222-   U.S. DOE
     Ideas for America                    1991       P00000033357
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21   Global Warming. Administration       Jan.      P00000039990-    U.S. GAO        https://www.gao.gov/a
     Approach Cautious Pending            1990      P00000040036                     ssets/150/148577.pdf
     Validation of Threat
22   Changing by Degrees: Steps to        Feb.      P00000033358-    Congressional   https://repository.libra
     Reduce Greenhouse Gases              1991      P00000033716     Office of       ry.georgetown.edu/bits
                                                                     Technology      tream/handle/10822/7
                                                                     Assessment      08292/9111.PDF?sequ
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23   United Nations Framework             1992      P00000033717-    United          https://unfccc.int/resou
     Convention on Climate Change                   P00000033741     Nations         rce/docs/convkp/conve
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24   Timothy Wirth. First Conference of   1995      P00000033761-    Timothy
     the Parties to the Framework                   P00000033772     Wirth
     Convention on Climate Change
25   Environmental Quality. Along the     1997      P00000035950-    Council on      https://ceq.doe.gov/do
     American River. The 1996 Report of             P00000039987     Environmenta    cs/ceq-reports/ceq-
     the Council on Environmental                                    l Quality       annual-report-
     Quality                                                                         1996.pdf
26   Environmental Quality. The 1997      1998      P00000034026-    Council on      https://ceq.doe.gov/do
     Report of the Council on                       P00000032393     Environmenta    cs/ceq-reports/ceq-
     Environmental Quality                                           l Quality       annual-report-
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27   Kyoto Protocol                       1997      P00000029955-    United
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28   The Climate Change Action Plan       1993      P00000033742-    William J.      http://hdl.handle.net/2
                                                    P00000033744     Clinton,        027/uc1.31822033838
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29   Selected Questions and Answers on        1993       P00000033745-   White House
     the President’s Climate Action Plan                 P00000033760    Office on
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30   Scenarios of U.S Carbon Reductions:      1997       P00000033773-   U.S. Dept. of   https://www.osti.gov/b
     Potential Impacts of Energy                         P00000034025    Energy,         iblio/814844-
     Technologies by 2010 and Beyond                                     Office of       scenarios-carbon-
                                                                         Energy          reductions-potential-
                                                                         Efficiency      impacts-energy-
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                                                                         Renewable       technologies-beyond
                                                                         Energy
31   Environmental Benefits of Advanced       1999       P00000034394-   U.S. Dept. of   https://www.osti.gov/s
     Oil and Gas Exploration and                         P00000034561    Energy          ervlets/purl/771125
     Production Technology
32   Remarks Announcing the Clear Skies       Feb. 14,   P00000034732-   George W.       http://www.presidency
     and Global Climate Change                2002       P00000034735    Bush            .ucsb.edu/ws/index.ph
     Initiatives in Silver Spring, Maryland                                              p?pid=73200

33   National Energy Policy, Report of the May           P00000034562-   National        www.nrc.gov/docs/ML
     National Energy Policy Development 2001             P00000034731    Energy Policy   0428/ML042800056.p
     Group                                                               Development     df
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34   Political Interference with Climate      Dec.       P00000034736-   U.S. House of   https://www.hsdl.org/?
     Change Science Under the Bush            2007       P00000034773    Representativ   view&did=481710
     Administration                                                      es Committee
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35    Second National Assessment: Global   June     P00000034774-    U.S. Global    https://downloads.glob
      Climate Change Impacts in the        2009     P00000034969     Change         alchange.gov/usimpact
      United States                                                  Research       s/pdfs/climate-
                                                                     Program        impacts-report.pdf
36    Endangerment and Cause or            Dec.     P00000036586-    U.S. EPA       https://www.gpo.gov/f
      Contribute Findings for Greenhouse   2009     P00000036637                    dsys/pkg/FR-2009-12-
      Gases Under Section 202(a) of the                                             15/pdf/E9-29537.pdf
      Clean Air Act
37    Climate Change Indicators in the     2014     P00000035635-    U.S. EPA       https://www.epa.gov/s
      United States (Third edition)                 P00000035744                    ites/production/files/2
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38    Climate Change Impacts in the         2014    P00000035745-    U.S. Global    http://s3.amazonaws.c
      United States: Third National Climate         P00000036585     Change         om/nca2014/high/NC
      Assessment                                                     Research       A3_Climate_Change_
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376   America’s Children and the           Jan.     P00000035044-    U.S. EPA       https://www.epa.gov/s
      Environment. Third Edition           2013     P00000035115                    ites/production/files/2
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377   Remarks by the President in State of   Jan. 24,   P00000035022-   Barack          https://obamawhitehou
      the Union Address                      2012       P00000035043    Obama           se.archives.gov/the-
                                                                                        press-
                                                                                        office/2012/01/24/rem
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                                                                                        union-address
378   Remarks by the President on            March      P00000037011-   Barack          https://obamawhitehou
      American-Made Energy                   22, 2012   P00000037015    Obama           se.archives.gov/the-
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379   America First: A Budget Blueprint to   2017       P00000012047-   Executive       https://www.whitehou
      Make America Great Again                          P00000012108    Office of the   se.gov/wp-
                                                                        President,      content/uploads/2017/
                                                                        Office of       11/2018_blueprint.pdf
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                                                                        and Budget,
380   EPA Administrator Pruitt: GHG          Apr. 2,    P00000037600-   U.S. EPA        https://www.epa.gov/n
      Emissions Standards for Cars and       2018       P00000037601                    ewsreleases/epa-
      Light Trucks Should Be Revised                                                    administrator-pruitt-
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                                                                                        light-trucks-should-be
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Exh.           Title of Document             Date     Bates Numbers     Author of
                                                                                          Document                Accessed
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39     Climate Change Adaptation by        Feb. 23,   P00000004358-   Jane A.         http://nationalaglawce     Mar. 18,
       Federal Agencies: An Analysis of    2015       P00000004461    Leggett,        nter.org/wp-               2018
       Plans and Issues for Congress                                  Cong.           content/uploads//assets
                                                                      Research        /crs/R43915.pdf
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40     Agriculture and Climate Change      Oct. 14,   P00000007224-   USDA, Econ.     https://www.ers.usda.g     Mar. 19,
                                           2016       P00000007226    Research        ov/topics/natural-         2018
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                                                                                      change/agriculture-
                                                                                      andclimate-change/
41     Land Areas of the National Forest   Jan.       P00000001268-   USDA, Forest    https://www.fs.fed.us/l    Feb. 27,
       System                              2012       P00000001532    Service         and/staff/lar/LAR2011      2018
                                                                                      /LAR2011_Book_A5.
                                                                                      pdf
42     The U.S. Forest Service – An        N/D        P00000005071-   USDA, Forest    https://www.fs.fed.us/     June 20,
       Overview                                       P00000005122    Service         sites/default/files/medi   2018
                                                                                      a/types/publication/fiel
                                                                                      d_pdf/USFS-
                                                                                      overview0106MJS.pdf
43     Federal Land                        Mar. 3,    P00000005006-   Carol Hardy     https://fas.org/sgp/crs/   Mar. 9,
       Ownership: Overview and Data        2017       P00000005033    Vincent;        misc/R42346.pdf            2018
                                                                      Congressional
                                                                      Research
                                                                      Service

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44   Land Areas of the National Forest       Jan.                       USDA, Forest   https://www.fs.fed.us/l   June 1,
     System                                  2012                       Service        and/staff/lar/LAR2011     2018
                                                                                       /LAR2011_Book_A5.
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45   Forest Products Cut and Sold from       N/D        P00000007198-   USDA, Forest   https://www.fs.fed.us/f   Mar. 10,
     the National Forests and Grasslands                P00000007200    Service        orestmanagement/prod      2018
                                                                                       ucts/cut-
                                                                                       sold/index.shtml
46   Historic Harvest Trends: 1984 to        N/D        P00000005059-   USDA, Forest   https://www.fs.fed.us/f   Feb. 27,
     Present                                            P00000005067    Service        orestmanagement/doc       2018
                                                                                       uments/harvest-
                                                                                       trends/NFS-
                                                                                       HarvestHistory1984-
                                                                                       2017.pdf
47   National Roadmap for Responding to      Feb.       P00000000986-   USDA, Forest   https://www.fs.fed.us/    Feb. 27,
     Climate Change                          2011       P00000001017    Service        climatechange/pdf/Ro      2018
                                                                                       admapfinal.pdf
48   National Report on Sustainable          June       P00000001551-   USDA, Forest   https://www.fs.fed.us/    Mar. 18,
     Forests––2010                           2011       P00000001764    Service        climatechange/pdf/Ro      2018
                                                                                       admapfinal.pdf
49   National Roadmap for Responding to      Sep.       P00000000984-   USDA, Forest   https://www.fs.fed.us/    Mar. 10,
     Climate Change: A Summary               2010       P00000000985    Service        climatechange/pdf/Bro     2018
                                                                                       chure_FINAL.pdf
50   Climate Change Advisor’s Office         Mar. 6,    P00000004462-   USDA, Forest   https://www.fs.fed.us/    Mar. 10,
     Briefing Paper: Baseline Estimates of   2015       P00000004464    Service        climatechange/docume      2018
     Carbon Stocks in Forests and                                                      nts/CarbonAssessment
     Harvested Wood Products for                                                       sBriefingPaper.pdf
     National Forest System Units
51   Forest Disturbance and North            Mar. 11,   P00000005375-   S. N. Goward                             Feb. 27,
     American Carbon Flux                    2008       P00000005377                                             2018

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52    Forests and Carbon Storage              N/D        P00000007206-   Mike Ryan;      https://www.fs.usda.g      Mar. 10,
                                                         P00000007219    USDA, Forest    ov/ccrc/print/topics/for   2018
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53    Total Carbon Storage in U.S. Forests    July 21,   P00000004497-   USDA, Forest    https://www.fia.fs.fed.    Mar. 10,
      by State and Ownership Group            2014       P00000004498    Service,        us/Forest%20Carbon/        2018
                                                                         Forest          methods/docs/2014/To
                                                                         Inventory and   tal%20forest%20carbo
                                                                         Analysis        n2014
                                                                         Program         0721.xlsx
54    U.S. Forest Carbon                      Jan. 8,    P00000000794-   James E.        https://www.nrs.fs.fed.    Mar. 10,
      Calculation Tool: Forest-Land           2010       P00000000831    Smith;          us/pubs/gtr/gtr_nrs13R     2018
      Carbon Stocks and Net Annual Stock                                 USDA, Forest    .pdf
      Change                                                             Service
55    Attribution of Net Carbon Change by     Nov. 24,   P00000005975-   N. L. Harris                               June 20,
      Disturbance Type Across Forest          2016       P00000005995                                               2018
      Lands of the Conterminous United
      States
56    The Rising Cost of Wildfire             Aug. 4,    P00000004767-   USDA, Forest    https://www.fs.fed.us/     Mar. 10,
      Operations: Effects on the Forest       2015       P00000004782    Service         sites/default/files/2015   2018
      Service’s Non-Fire Work                                                            -FireBudget-
                                                                                         Report.pdf
386   National Interagency Fire               Aug.       P00000004250-   Sonja N.        https://www.fia.fs.fed.    June 1,
      Center, Wildland Fire, in U.S. Forest   2014       P00000004313    Oswalt;         us/library/brochures/d     2018
      Resource Facts and Historical Trends                               USDA, Forest    ocs/2012/ForestFacts_
      35                                                                 Service         1952-
                                                                                         2012_English.pdf
57    Federal Firefighting Costs              N/D        P00000005070    National        https://www.nifc.gov/f     Feb. 27,
      (Suppression Only)                                                 Interagency     ireInfo/fireInfo_docu      2018
                                                                         Fire Center     ments/SuppCosts.pdf


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58   Forest Service Wildland Fire           Sep. 14,   P00000007079-   USDA           https://www.usda.gov/    Mar. 10,
     Suppression Costs Exceed $2 Billion    2017       P00000007081                   media/press-             2018
                                                                                      releases/2017/09/14/fo
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                                                                                      exceed-2-billion
59   Climate Change Impacts in the          May        P00000003301-   US Global      http://s3.amazonaws.c    June 12,
     United States: The Third National      2014       P00000004141    Change         om/nca2014/low/NCA       2018
     Climate Assessment                                                Research       3_Climate_Change_I
                                                                       Program        mpacts_in_the_United
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60   Science Update: Western Forests,       Jan.       P00000005557-   Valerie Rapp   https://www.fs.fed.us/   Feb. 27,
     Fire Risk, and Climate Change          2004       P00000005567                   pnw/pubs/science-        2018
                                                                                      update-6.pdf
61    Effects of Climatic Variability and   Dec.       P00000001791-   USDA, Forest   https://www.usda.gov/    June 20,
     Change on Forest Ecosystems: A         2012       P00000002072    Service        oce/climate_change/ef    2018
     Comprehensive Science Synthesis for                                              fects_2012/FS_Climat
     the U.S. Forest Sector                                                           e1114 opt.pdf
62   Climate Change and Agriculture in      Feb.       P00000002073-   C. L.          https://www.usda.gov/    Feb. 27,
     the United States: Effects and         2013       P00000002265    Walthall;      oce/climate_change/ef    2018
     Adaptation                                                        USDA           fects_2012/CC%20an
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                                                                                      2013)b.pdf
63   Climate Solutions                      N/D        P00000007220-   USDA           https://www.usda.gov/    Mar. 13,
                                                       P00000007221                   topics/climate-          2018
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64   Carbon Sequestration                 N/D       P00000007222-   National         https://www.nrcs.usda.      Mar. 18,
                                                    P00000007223    Resource         gov/Internet/FSE_DO         2018
                                                                    Conservation     CUMENTS/nrcs144p2
                                                                    Service          _066823.pdf
65   Agriculture, Climate Change and      2009      P00000000870-   Jeff             https://attra.ncat.org/at   June 12,
     Carbon Sequestration                           P00000000885    Schahczenski     trapub/download.php?        2018
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66   Managing Carbon in a World           Nov.      P00000002548-   Kelly            http://nationalaglawce Mar. 18,
     Economy: The Role of American        2005      P00000002558    Connelly         nter.org/wpcontent/upl 2018
     Agriculture                                                    Garry;           oads/assets/articles/gar
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67   Climate Change: The Role of the U.S. Nov. 9,   P00000000747-   Renée            http://nationalaglawce      Mar. 18,
     Agriculture Sector                   2009      P00000000781    Johnson;         nter.org/wpcontent/upl      2018
                                                                    Congressional    oads/assets/crs/RL338
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68   Costs and Consequences: The Real     Jan.      P00000004314-   Christine        https://www.biological Feb. 27,
     Price of Livestock Grazing on        2015      P00000004357    Glaser et al.;   diversity.org/programs 2018
     America’s Public Lands                                         Center for       /public_lands/grazing/
                                                                    Biological       pdfs/CostsAndConseq
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69   Livestock Grazing Stats: Examining   Nov.       P00000004783-   DailyPitchfor                              Feb. 27,
     Key Data in the Debate Over Wild     2015       P00000004798    k.org           http://dailypitchfork.or   2018
     Horses on Western Public Lands                                                  g/wpcontent/uploads/2
                                                                                     015/11/BLM_USFS-
                                                                                     grazing-
                                                                                     analysis_2014_Daily-
                                                                                     Pitchfork.pdf
70   Grazing Statistical Summary:         Mar.       P00000004816-   USDA, Forest    https://www.fs.fed.us/r    Feb. 27,
     FY2015                               2016       P00000004925    Service         angeland-                  2018
                                                                                     management/documen
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                                                                                     GrazingStatisticalSum
                                                                                     maryFY2015.pdf
71   Agriculture and Forestry Greenhouse June        P00000005123-   USDA            https://www.usda.gov/      June 20,
     Gas Inventory: 1990–2008            2011        P00000005284                    oce/climate_change/A       2018
                                                                                     FGG_Inventory/USD
                                                                                     A_GHG_Inv_1990-
                                                                                     2008_June2011.pdf
72   Methane: An Introduction to          Nov. 18,   P00000004955-   Richard K.      http://nationalaglawce     Mar. 18,
     Emission Sources and Reduction       2016       P00000005005    Lattanzio;      nter.org/wpcontent/upl     2018
     Strategies                                                      Congressional   oads//assets/crs/R4386
                                                                     Research        0.pdf
                                                                     Service
73   Welcome to Minerals & Geology        Mar. 23,   P00000007227-   USDA, Forest    https://www.fs.fed.us/     June 20,
     Management (MGM)                     2018       P00000007229    Service         geology/index.html         2018
74   Challenges Facing Domestic Oil and   July 8,    P00000001180-   112th           https://www.gpo.gov/f      June 12,
     Gas Development: Review Of Bureau    2011       P00000001267    Congress        dsys/pkg/CHRG-             2018
     Of Land                                                                         112hhrg72151/pdf/CH
     Management/U.S. Forest Service Ban                                              RG112hhrg72151.pdf
     On Horizontal Drilling On Federal

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     Lands: Hearing Before the H.
     Subcomm on Energy & Mineral
     Resources & the H. Subcomm. on
     Conservation, Energy, & Forestry
75   Coal                                   Jan. 2,   P00000007192-   USDA, Forest   https://www.fs.fed.us/   Mar. 10,
                                            2013      P00000007193    Service        geology/energyCoal.ht    2018
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76   The American Energy Initiative, Part   Aug. 2,   P00000002886-   112th          https://www.gpo.gov/f    Mar. 13,
     27: A Focus On Growing Differences     2012      P00000003056    Congress       dsys/pkg/CHRG112hh       2018
     For Energy                                                                      rg82689/pdf/CHRG-
     Development On Federal Versus                                                   112hhrg82689.pdf
     Non–Federal Lands: Hearing Before
     the Subcomm. on Energy & Power
77   Strategic Sustainability Performance   N/D       P00000001765-   USDA                                    June 12,
     Plan                                             P00000001790                                            2018
78   Climate Change Mitigation              June      P00000000001-   EPA and                                 June 12,
     Strategies in the Forest and           1995      P00000000084    USFS                                    2018
     Agriculture Sectors




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                                                                                                                     Date
         Title of                                       Source / Author of                                         Plaintiffs
Exh.                      Date     Bates Numbers                                Website URL for Document
        Document                                           Document                                                Accessed
                                                                                                                  Document
79     Carbon            Aug.     P00000010000-      David H. Slade, USDOE     https://www.osti.gov/servlets/p   Apr. 27,
       dioxide          1980      P00000010099       Office of Health and      url/5046001                       2018
       effects                                       Environmental Research,
       research and                                  Carbon Dioxide and
       assessment                                    Climate Division
       program. A
       comprehensi
       ve plan. Part
       I. The global
       carbon cycle
       and climatic
       effects of
       increasing
       carbon
       dioxide
80     Overview of       Feb.     P00000017171-      Michael R. Riches &       https://journals.ametsoc.org/doi/ June 13,
       the              1985      P00000017177       Frederick A. Koomanoff,   pdf/10.1175/1520-                 2018
       Department                                    USDOE Office of Basic     0477%281985%29066%3C015
       of Energy                                     Energy Sciences, Carbon   2%3AOOTDOE%3E2.0.CO%3
       Carbon                                        Dioxide Research          B2
       Dioxide                                       Division
       Research
       Program
81     Projecting        Dec.     P00000010100-      Michael C. MacCracken     https://www.osti.gov/biblio/588   Apr. 27,
       the Climatic     1985      P00000010511       & Frederick M. Luther,    5458                              2018

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     Effects of                                    eds., USDOE Office of
     Increasing                                    Basic Energy Sciences,
     Carbon                                        Carbon Dioxide Research
     Dioxide                                       Division
82   U.S. Energy      July      P00000017302-      Craig Zamuda, USDOE     https://www.energy.gov/sites/pr     Feb. 27, 2018
     Sector           2013      P00000017385       Office of Policy and    od/files/2013/07/f2/20130710-
     Vulnerabiliti                                 International Affairs   Energy-Sector-Vulnerabilities-
     es to Climate                                                         Report.pdf
     Change and
     Extreme
     Weather
83   Department       May 8,    P00000017981-      USDOE, Office of Fossil   https://www.energy.gov/articles   June 13,
     of Energy        2018      P00000017983       Energy                    /department-energy-seeks-         2018
     Seeks                                                                   information-small-scale-
     Information                                                             modular-coal-based-power-
     on Small-                                                               plants-future
     Scale
     Modular
     Coal-Based
     Power Plants
     of the Future
84   How to           N/D       P00000017944-      USDOE, Office of Fossil   https://www.energy.gov/fe/servi Apr. 27,
     Obtain                     P00000017947       Energy                    ces/natural-gas-regulation/how- 2018
     Authorizatio                                                            obtain-authorization-import-
     n to Import                                                             andor-export-natural-gas-and-
     and/or                                                                  lng
     Export
     Natural Gas
     and LNG


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85   Long Term        Mar. 16,   P00000017927-     USDOE, Office of Fossil   https://www.energy.gov/sites/pr Apr. 27,
     Applications     2018       P00000017933      Energy                    od/files/2018/03/f49/Summary    2018
     Received by                                                             %20of%20LNG%20Export%20
     DOE/FE to                                                               Applications.pdf
     Export
     Domestically
     Produced
     LNG from
     the Lower-48
     States (as of
     March, 16,
     2018)
86   LNG              N/D        P00000012109-     USDOE, Office of Fossil   https://www.energy.gov/sites/pr    Apr. 27,
     Monthly                     P00000012120      Energy                    od/files/2017/03/f34/LNG%202       2018
     (YTD –                                                                  016_0.pdf
     through
     December
     2016)
87   Secretary        July 31,   P00000017950-     US Department of          https://www.commerce.gov/ne        Apr. 27,
     Ross and         2017       P00000017955      Commerce, Office of       ws/press-                          2018
     Secretary                                     Public Affairs            releases/2017/07/secretary-ross-
     Perry Hail                                                              and-secretary-perry-hail-new-
     New Coal                                                                coal-deal-ukraine
     Deal with
     Ukraine
88   U.S. Energy      May 19,    P00000017956-     USDOE, Energy             https://www.eia.gov/energyexpl     Apr. 27,
     Facts            2017       P00000017957      Information               ained/?page=us_energy_home         2018
     Explained:                                    Administration
     Consumption
     & Production

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89   How Much        June 8,   P00000017943       USDOE, Energy             https://www.eia.gov/tools/faqs/f Apr. 27,
     Carbon          2017                         Information               aq.php?id=73&t=11                2018
     Dioxide is                                   Administration
     Produced
     When
     Different
     Fuels Are
     Burned?
90   Strategic       N/D       P00000017988-      USDOE, Office of Fossil   https://energy.gov/fe/services/p June 13,
     Petroleum                 P00000017993       Energy                    etroleum-reserves/strategic-     2018
     Reserve                                                                petroleum-reserve
91   Long Term       Aug.      P00000011652-      Ernest J. Moniz, USDOE    https://www.energy.gov/sites/pr Mar. 1, 2018
     Strategic       2016      P00000011774                                 od/files/2016/09/f33/Long-
     Review of                                                              Term%20Strategic%20Review
     the U.S.                                                               %20of%20the%20U.%20S.%2
     Strategic                                                              0Strategic%20Petroleum%20Re
     Petroleum                                                              serve%20Report%20to%20Con
     Reserve:                                                               gress_0.pdf
     Report to
     Congress
92   Appliance       N/D       P00000017934-      USDOE Office of           https://www.energy.gov/eere/bu        Apr. 27,
     and                       P00000017939       Energy Efficiency &       ildings/appliance-and-                2018
     Equipment                                    Renewable Energy          equipment-standards-program
     Standards
     Program
93   Deep Energy     2015      P00000011199-      Brennan Less & Iain       https://eta.lbl.gov/sites/default/f   June 13,
     Retrofit                  P00000011293       Walker, USDOE             iles/publications/brennan_less_-      2018
     Guidance for                                 Lawrence Berkeley         _deep_energy_retrofit_guidanc
     the Building                                 National Laboratory,      e_for_the_building_america_so
     America                                                                lutions_center.pdf

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     Solutions                                    Environmental Energy
     Center                                       Technologies Division
94   Energy          2001       P00000011806-     Committee on Benefits     https://www.nap.edu/catalog/10    June 13,
     Research at                P00000012046      of DOE R&D on Energy      165/energy-research-at-doe-       2018
     DOE: Was It                                  Efficiency and Fossil     was-it-worth-it-energy-
     Worth It?                                    Energy, National          efficiency
     Energy                                       Research Council
     Efficiency
     and Fossil
     Energy
     Research
     1978 to 2000
95   Federal         July 18,   P00000011180-     USDOE, USDOI,             https://www.energy.gov/sites/pr   June 13,
     MultiAgency     2014       P0000001119       USEPA                     od/files/2017/04/f34/Multiagen    2018
     Collaboratio                                                           cy_UOG_Research_Strategy.pd
     n on                                                                   f
     Unconventio
     nal Oil and
     Gas
     Research: A
     Strategy for
     Research &
     Development
96   FOTW            Mar. 26,   P00000017994-     USDOE, Office of          https://www.energy.gov/eere/ve    June 13,
     #1022,          2018       P00000017996      Energy Efficiency and     hicles/articles/fotw-1022-        2018
     March 26,                                    Renewable Energy,         march-26-2018-us-crude-oil-
     2018: U.S.                                   Vehicle Technologies      exports-skyrocketed-2016-and-
     Crude Oil                                    Offce                     2017
     Exports
     Skyrocketed

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      in 2016 and
      2017
97    Wind Vision: Apr.          P00000011294-     USDOE                     https://www.energy.gov/sites/pr    June 13,
      A New Era     2015         P00000011641                                od/files/WindVision_Report_fi      2018
      for Wind                                                               nal.pdf
      Power in the
      United States
98    Methane       N/D          P00000017984-     USDOE, Office of Fossil   https://www.energy.gov/fe/scie     June 13,
      Hydrate                    P00000017987      Energy                    nce-innovation/oil-gas-            2018
                                                                             research/methane-hydrate
99    Federal         July 18,   P00000011180-     USDOE, USDOI,             https://www.energy.gov/sites/pr    June 13,
      MultiAgency     2014       P0000001119       USEPA                     od/files/2017/04/f34/Multiagen     2018
      Collaboratio                                                           cy_UOG_Research_Strategy.pd
      n on                                                                   f
      Unconventio
      nal Oil and
      Gas
      Research: A
      Strategy for
      Research &
      Development
100   Address at      N/D        P00000017948-     Rick Perry, USDOE         https://vimeo.com/264052877#t      Apr. 27,
      The Future                 P00000017949                                =1260s                             2018
      of Energy
      Global
      Summit
101   Secretary       July 31,   P00000017950-     US Department of          https://www.commerce.gov/ne        Apr. 27,
      Ross and        2017       P00000017955      Commerce, Office of       ws/press-                          2018
      Secretary                                    Public Affairs            releases/2017/07/secretary-ross-
      Perry Hail

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      New Coal                                                               and-secretary-perry-hail-new-
      Deal with                                                              coal-deal-ukraine
      Ukraine
102   US Energy       June 29,   P00000017958-     CNBC                      https://www.cnbc.com/video/20     Apr. 27,
      Secretary:      2017       P00000017962                                17/06/19/us-energy-secretary-     2018
      CO2 is Not                                                             rick-perry-co2-is-not-the-
      the Primary                                                            primary-control-knob-for-
      Control                                                                climate-change.html
      Knob for
      Climate
      Change,
103   Revolution…     Sep.       P00000011775-     Paul Donohoo-Vallett,     https://www.energy.gov/sites/pr   June 13,
      Now: The        2016       P00000011804      USDOE Office of           od/files/2016/09/f33/Revolution   2018
      Future                                       Energy Efficiency &       â€Now%202016%20Report_2.
      Arrives for                                  Renewable Energy          pdf
      Five Clean
      Energy
      Technologies
      – 2016
      Update
104   Federal         July 18,   P00000011180-     USDOE, USDOI,             https://www.energy.gov/sites/pr   June 13,
      MultiAgency     2014       P0000001119       USEPA                     od/files/2017/04/f34/Multiagen    2018
      Collaboratio                                                           cy_UOG_Research_Strategy.pd
      n on                                                                   f
      Unconventio
      nal Oil and
      Gas
      Research: A
      Strategy for


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      Research &
      Development
105   Strategic    May           P00000029877-     USDOE                     https://www.energy.gov/sites/pr June 1, 2018
      Plan        2011           P00000029936                                od/files/2011_DOE_Strategic_P
                                                                             lan_.pdf
106   Strategic       Mar.       P00000011148-     USDOE                     https://www.energy.gov/sites/pr June 13,
      Plan 2014-      2014       P00000011179                                od/files/2014/04/f14/2014_dept 2018
      2018                                                                   _energy_strategic_plan.pdf
107   Statement of    Sep. 22,   P00000010512-     Donna R. Fitzpatrick,                                     June 1, 2018
      Donna R.        1988       P00000010781      USDOE
      Fitzpatrick
108   Perry           June 20,   P00000017963-     Peter Behr, E&E News      https://www.eenews.net/stories/   June 13,
      Welcomes        2017       P00000017965                                1060056274                        2018
      Foreign
      Investment
      on All
      Energy
      Fronts
109   U.S. Will Be    Mar. 5,    P00000017978-     The White House           https://www.whitehouse.gov/bri    June 13,
      The World’s     2018       P00000017979                                efings-statements/u-s-will-       2018
      Largest Oil                                                            worlds-largest-oil-producer-
      Producer By                                                            2023-says-iea/
      2023, Says
      IEA
110   An America      N/D        P00000011805      The White House           https://www.documentcloud.org     June 13,
      First Energy                                                           /documents/3387865-An-            2018
      Plan                                                                   America-First-Energy-Plan-
                                                                             From-WhiteHouse-gov.html
111   President       June 27,   P00000017966-     The White House           https://www.whitehouse.gov/bri    June 13,
      Donald J.       2017       P00000017970                                efings-statements/president-      2018

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      Trump                                                                  donald-j-trump-unleashes-
      Unleashes                                                              americas-energy-potential/
      America’s
      Energy
      Potential
112   President       July 20,   P00000017971-     The White House           https://www.whitehouse.gov/bri   June 13,
      Donald J.       2017       P00000017977                                efings-statements/president-     2018
      Trump’s Six                                                            donald-j-trumps-six-months-
      Months of                                                              america-first/
      America
      First
113   Statement       June 1,    P00000017980      The White House           https://www.whitehouse.gov/bri June 13,
      from the        2018                                                   efings-statements/statement-   2018
      Press                                                                  press-secretary-fuel-secure-
      Secretary on                                                           power-facilities/
      Fuel-Secure
      Power
      Facilities




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                                                                                                                         Date
           Title of                   Bates       Source / Author of                                                   Plaintiffs
Exh.                        Date                                               Website URL for Document
          Document                   Numbers         Document                                                          Accessed
                                                                                                                      Document
114    Presidential        Apr.     P00000020   Congressional             https://fas.org/sgp/crs/misc/R44140.pdf    June 18,
       Permit Review       19,      356-        Research Service                                                     2018
       for Cross-Border    2017     P00000020
       Pipelines &                  376
       Electric
       Transmission
115    Presidential        Jan.     P00000020   Office of the President   https://www.whitehouse.gov/presidential    June 18,
       Memorandum          24,      399-                                  -actions/presidential-memorandum-          2018
       Regarding           2017     P00000020                             regarding-construction-keystone-xl-
       Construction of              401                                   pipeline/
       the Keystone XL
       Pipeline
116    Presidential        Aug.     P00000020   Congressional             https://fas.org/sgp/crs/misc/R43261.pdf    June 18,
       Permits for         1,       377-        Research Service                                                     2018
       Border Crossing     2017     P00000020
       Energy Facilities            387
117    Bureau of           N/D      P00000020   Department of State       https://www.state.gov/e/enr/index.htm      June 20,
       Energy                       414-                                  (last visited June 5, 2018)                2018
       Resources                    P00000020
                                    416
118    Press Releases,     Apr.     P00000020   Department of State       https://www.state.gov/r/pa/prs/ps/2018/0   June 20,
       “Central            16,      417-                                  4/280511.htm                               2018
       American            2018     P00000020
       Senior-Level                 418
       Natural Gas


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      Policy and
      Investment
      Roundtable”
119   News & Events,       March   P00000020   Department of State    https://useu.usmission.gov/remarks-das-    June 18,
      Remarks by           20,     402-                               sandra-oudkirk-bureau-energy-resources-    2018
      DAS Sandra           2018    P00000020                          martens-centre-brussels/
      Oudkirk, Bureau              411
      of Energy
      Resources, at
      Martens Centre
      in Brussels
120   Releases and         Nov.    P00000020   Department of State    https://www.state.gov/e/enr/rls/2017/275   June 18,
      Fact Sheets,         17,     412-                               826.htm                                    2018
      Remarks at the       2017    P00000020
      U.S. Gas                     413
      Infrastructure
      Exports Initiative
      Launch Event
121   Remarks at the       Sept.   P00000020   Department of State    https://www.state.gov/e/enr/rls/2017/274   June 20,
      Platts 40th Coal     26,     419-                               576.htm                                    2018
      Marketing            2017    P00000020
      Conference                   423
122   Three                June    P00000020   Department of State    https://www.state.gov/r/pa/prs/ps/2017/0   June 20,
      Presidential         29,     424-                               6/272288.htm                               2018
      Permits Issued       2017    P00000020
      for U.S-Mexico               425
      Pipelines
123   Issuance of          March   P00000020   Department of State    https://www.state.gov/r/pa/prs/ps/2017/0   June 20,
      Presidential         24,     426-                               3/269074.htm                               2018
      Permit to            2017    P00000020


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      TransCanada for               427
      Keystone XL
      Pipeline
124   Acting Special      Feb. 8,   P00000020   Department of State   https://www.state.gov/e/enr/rls/2017/268   June 20,
      Envoy Mary          2017      428-                              180.htm                                    2018
      Bruce Warlick’s               P00000020
      Remarks for                   431
      Petroleum
      Equipment and
      Services
      Association
      Members and
      Foreign and
      Civil Service Oil
      and Gas Industry
      Training Session
      Participants
125   Office of Global    Nov.      P00000020   Department of State   https://www.state.gov/e/oes/climate/rmks   June 20,
      Change,             16,       432                               /index.htm                                 2018
      Remarks,            2017
      Briefings,
      Reports and
      Releases
126   FY 2014 Climate     N/D       P00000020   Department of State   https://www.state.gov/documents/organiz June 18,
      Change                        333-                              ation/233779.pdf                        2018
      Adaptation Plan               P00000020
      (unclassified)                355
127   Observations by     N/D       P00000020   Department of State   https://www.state.gov/documents/organiz June 18,
      the United States             325-                              ation/138855.pdf                        2018
      of America on                 P00000020


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      the Relationship         332
      Between Climate
      Change and
      Human Rights
128   Rex Tillerson    N/D     P00000020   Department of State        http://www.climatechangenews.com/201        June 19,
      Letter to Bob            388-                                   7/08/29/us-state-department-abolish-        2018
      Corker                   P00000020                              climate-change-envoy/
                               398
129   PRD-12/Global     N/D    P00000029   Department of State                                                    June 28,
      Climate Change           864-                                                                               2018
      Policy Decision          P00000029
      Paper                    871
130   Second            July   P00000037   The Honorable Timoty                                                   June 28,
      Conference of     17,    883-        E. Wirth, Under                                                        2018
      the Parties       1996   P00000037   Secretary for Global
      Framework                887         Affairs on behalf of the
      Convention on                        United States of
      Climate Change,                      America
      Geneva
      Switzerland
383   PSD and Title V   2011   P00000037   U.S. EPA                   https://www.epa.gov/sites/production/file   June 28,
      Permitting               019-                                   s/2015-                                     2018
      Guidance for             P00000037                              12/documents/ghgpermittingguidance.pd
      Greenhouse               114                                    f
      Gases
384   An Interstate     2015   P00000037   Federal Energy             https://www.ferc.gov/resources/guides/ga June 28,
      Natural Gas              202-        Regulatory                 s/gas.pdf                                2018
      Facility on my           P00000037   Commission
      Land?                    233
385   Transporting      2016   P00000037   U.S. Department of         www.phmsa.dot.gov/sites/phmsa.dot.gov       June 28,


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Hazmat Under               286-        Transportation          /files/docs/approvals-and-              2018
the Hazardous              P00000037                           permits/hazmat/general-
Materials                  296                                 approvals/17656/approvalsbrochureweb2
Regulations                                                    .pdf




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                                                                                                                   Date
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Exh.            Title of Document             Date    Bates Numbers     Author of
                                                                                           Document              Accessed
                                                                        Document
                                                                                                                Document
131    Climate Adaptation Plan: Ensuring    2014      P00000028083-    U.S. Dep’t of   https://www.transporta April 26,
       Transportation Infrastructure and              P00000028111     Transp.         tion.gov/sites/dot.dev/f 2018
       System Resilience                                                               iles/docs/DOT%20Ad
                                                                                       aptation%20Plan.pdf.
132    Transportation’s Role in Reducing    April     P00000028491-    U.S. Dep’t of   https://rosap.ntl.bts.go April 26,
       U.S. Greenhouse Gas Emissions:       2010      P00000029095     Transp.         v/view/dot/17790         2018
       Volume 1 Synthesis Report
133    Sources of Greenhouse Gas            N/D       P00000029759-    U.S. Envtl.     https://www.epa.gov/g      June 14,
       Emissions                                      P00000029775     Prot. Agency    hgemissions/sources-       2018
                                                                                       greenhouse-gas-
                                                                                       emissions
134    Research, Development, and           Dec.      P00000026778-    U.S. Dep’t of   https://www.transporta     April 26,
       Technology Strategic Plan            2016      P00000026909     Transp.         tion.gov/sites/dot.gov/    2018
                                                                                       files/docs/USDOT-
                                                                                       RD%26T-Strategic-
                                                                                       Plan-Final-
                                                                                       011117.pdf.
135    March 2018: Monthly Energy Review March        P00000027839-    U.S. Energy     https://www.eia.gov/to     April 26,
                                         27, 2018     P00000028082     Info. Admin.,   talenergy/data/monthl      2018
                                                                                       y/pdf/mer.pdf.
136    Transportation Energy Data Book      Dec.      P00000027319-    Oak Ridge       https://cta.ornl.gov/dat   April 26,
                                            2017      P00000027718     Nat’l Lab       a/index.shtml.             2018
137    Use of Energy in the United States             P00000028377-    U.S. Energy     https://www.eia.gov/e      April 21,
       Explained                                      P00000028378     Info. Admin.,   nergyexplained/?page       2018
                                                                                       =us_energy_transporta


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138   Transportation Statistics Annual      2016       P00000026910-   U.S. Dep’t of   https://www.bts.gov/si     June 14,
      Report                                           P00000027155    Transp.,        tes/bts.dot.gov/files/do   2018
                                                                       Bureau of       cs/TSAR_2016.pdf
                                                                       Transp.
                                                                       Statistics,
139   March 2018: Monthly Energy Review March          P00000027839-   U.S. Energy     https://www.eia.gov/to     April 26,
                                        27, 2018       P00000028082    Info. Admin.    talenergy/data/monthl      2018
                                                                                       y/pdf/mer.pdf
140   Power Sector Carbon Dioxide           Dec. 19,   P00000027314-   U.S. Energy     https://www.eia.gov/to     April 26,
      Emissions Fall Below Transportation   2017       P00000027316    Info. Admin.    dayinenergy/detail.php     2018
      Sector Emissions                                                                 ?id=34192.
141   Transportation Energy Data Book       Dec.       P00000027319-   Oak Ridge       https://cta.ornl.gov/dat   April 26,
                                            2017       P00000027718    Nat’l Lab       a/index.shtml.             2018
142   Carbon Intensity of Energy Use is     May 1,     P00000027317-   U.S. Energy     https://www.eia.gov/to     April 26,
      Lowest in U.S. and Electric Power     2017       P00000027318    Info. Admin.:   dayinenergy/detail.php     2018
      Sectors,                                                                         ?id=31012
143   Light-Duty Automotive Technology,     Jan.       P00000028212-   U.S. Envtl.     https://nepis.epa.gov/E    April 26,
      Carbon Dioxide Emissions, and Fuel    2018       P00000028369    Prot. Agency    xe/ZyPDF.cgi?Dockey        2018
      Economy Trends: 1975 Through                                                     =P100TGDW.pdf.
      2017
144   Research, Development, and            Dec.       P00000026778-   U.S. Dep’t of   https://www.transporta     April 26,
      Technology Strategic Plan: FY 2017–   2016       P00000026909    Transp          tion.gov/sites/dot.gov/    2018
      2021                                                                             files/docs/USDOT-
                                                                                       RD%26T-Strategic-
                                                                                       Plan-Final-
                                                                                       011117.pdf.
145   Transportation Statistics Annual      2016       P00000026910-   U.S. Dep’t of   https://www.bts.gov/si     June 14,
      Report                                           P00000027155    Transp          tes/bts.dot.gov/files/do   2018
                                                                                       cs/TSAR_2016.pdf


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146   Fast Facts: U.S. Transportation      July      P00000028476-    U.S. Envtl.     https://nepis.epa.gov/E    April 22,
      Sector Greenhouse Gas Emissions      2017      P00000028480     Prot. Agency    xe/ZyPDF.cgi?Dockey        2018
      1990–2015                                                                       =P100S7NK.pdf.
147   Use of Energy in the United States   May 17,   P00000028375-    U.S. Energy     https://www.eia.gov/e      April 21,
      Explained: Energy Use for            2017      P00000028376     Info. Admin     nergyexplained/?page       2018
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148   Transportation Energy Data Book      Dec.      P00000027319-    Oak Ridge       https://cta.ornl.gov/dat   April 26,
                                           2017      P00000027718     Nat’l Lab       a/index.shtml              2018
149   2016 Strategic Sustainability        June      P00000028379-    U.S. Dep’t of   https://cms.dot.gov/sit    April 26,
      Performance Plan                     2016      P00000028467     Transp          es/dot.gov/files/2016      2018
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150   Transportation Energy Data Book      Dec.      P00000027319-    Oak Ridge       https://cta.ornl.gov/dat   April 26,
                                           2017      P00000027718     Nat’l Lab.      a/index.shtml              2018
151   Corporate Average Fuel Economy       N/D       P00000028468-    U.S. Dep’t of   https://www.transporta     April 26,
      (CAFE) Standards                               P00000028470     Transp          tion.gov/mission/susta     2018
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152   Information about Corporate          Feb.      P00000029776     U.S. Dep’t of   https://www.nhtsa.gov      June 14,
      Average Fuel Economy (CAFE)          2010                       Transp          /staticfiles/laws_regs/p   2018
      Standards                                                                       df/811286.pdf
153   Transportation Energy Data Book     Dec.       P00000027319-    U.S. Dep’t of   https://cta.ornl.gov/dat   April 26,
                                          2017       P00000027718     Transp          a/index.shtml.             2018
154   Research, Development, and          Dec.       P00000026778-    U.S. Dep’t of   ),                         April 26,
      Technology Strategic Plan: FY 2017– 2016       P00000026909     Transp          https://www.transporta     2018
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155   Transportation Statistics Annual      2016      P00000026910-    U.S. Dep’t of   ),                         June 14,
      Report                                          P00000027155     Transp          https://www.bts.gov/si     2018
                                                                                       tes/bts.dot.gov/files/do
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156   March 2018: Monthly Energy Review March         P00000027839-    U.S. Energy     https://www.eia.gov/to     April 26,
                                        27, 2018      P00000028082     Info. Admin     talenergy/data/monthl      2018
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157   Table A-22: Long-Distance Trips and May 20,     P00000029777-    Bureau of       https://www.bts.gov/ar     June 14,
      Trip Miles by Mode, in Millions     2017        P00000029778     Transp.         chive/publications/hig     2018
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158   Supplemental Table A: Means of        2009      P00000026461-    U.S. Census     https://www2.census.g      June 14,
      Transportation by Selected                      P00000026465     Bureau          ov/programs-               2018
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159   Public Transportation’s Role in       Jan.      P00000026758-    U.S. Dep’t of   https://www.transit.dot    June 14,
      Responding to Climate Change          2010      P00000026777     Transp          .gov/sites/fta.dot.gov/f   2018
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160   Strategies for Integrating Electric   Feb.      P00000027264-    U.S. Dep’t of   http://aceee.org/resear    June 14,
      Vehicles into the Grid                2018      P00000027313     Transp          ch-report/t1801            2018


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161   Feasibility and Implications of       Jan.      P00000026517-    U.S. Dep’t of    https://www.fhwa.dot.      April 26,
      Electric Vehicle (EV) Deployment      2015      P00000026757     Transp           gov/environment/susta      2018
      and Infrastructure Development                                                    inability/energy/public
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162   Strategies for Integrating Electric   Feb.      P00000027264-    Siddiq Khan      http://aceee.org/resear    June 14,
      Vehicles into the Grid                2018      P00000027313     & Shruti         ch-report/t1801            2018
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163   FHWA NHTS Brief: Electric Vehicle     July      P00000028370-    U.S. Dep’t of    https://nhts.ornl.gov/br   April 26,
      Feasibility                           2016      P00000028373     Transp           iefs/EVFeasibility201      2018
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164   Strategies for Integrating Electric   Feb.      P00000027264-    Siddiq Khan      http://aceee.org/resear    June 14,
      Vehicles into the Grid                2018      P00000027313     & Shruti         ch-report/t1801            2018
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165   Transportation Statistics Annual      2016      P00000026910-    U.S. Dep’t of   https://www.bts.gov/si      June 14,
      Report                                          P00000027155     Transp          tes/bts.dot.gov/files/do    2018
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166   NHTSA Tire Fuel Efficiency            May       P00000026357-    U.S. Dep’t of https://www.nhtsa.gov         April 26,
      Consumer Information Program          2009      P00000026460     Transp          /sites/nhtsa.dot.gov/fil    2018
      Development: Phase 1 – Evaluation                                                es/fmvss/Laboratory_
      of Laboratory Test Protocols                                                     Test_Protocols.pdf
167   Tire Fuel Efficiency Consumer         2016      P00000029779-    Office of Info. ,                           June 15,
      Information—Part 2                              P00000029780     & Reg.          https://www.reginfo.g       2018
                                                                       Affairs         ov/public/do/eAgenda
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168   Gas Pipeline Miles by System Type –   2017      P00000028374     PHMSA           https://www.phmsa.do        April 26,
      2017                                                                             t.gov/faqs/general-         2018
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169   Transportation Statistics Annual      2016       P00000026910-   U.S. Dep’t of   https://www.bts.gov/si              June 14,
      Report                                           P00000027155    Transp          tes/bts.dot.gov/files/do            2018
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170   U.S. Natural Gas Regulatory           ND         P00000029786-   U.S. Energy                                         June 15,
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      Authorities,                                     P00000029787    Info. Admin.,                                       2018
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171   General Pipeline FAQs                 Feb. 14,   P00000029781-   PHMSA           https://www.phmsa.do                June 15,
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172   Annual Report Mileage for Natural     April 4,   P00000028471-   PHMSA           https://www.phmsa.do                April 22,
      Gas Transmission & Gathering          2018       P00000028473                    t.gov/data-and-                     2018
      Systems                                                                          statistics/pipeline/annu
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173   Annual Report Mileage for Gas         April 4,   P00000029096-   PHMSA           https://www.phmsa.do                April 26,
      Distribution System                   2018       P00000029098                    t.gov/data-and-                     2018
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174   Underground Natural Gas Storage,      N/D        P00000029099-   PHMSA           https://primis.phmsa.d              May 8,
                                                       P00000029100                    ot.gov/ung/index.htm                2018
175   Natural Gas Consumption (Billion      N/D        P00000029805-   Bureau of       https://www.transtats.              June 21,
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176   Pipeline Spills                       June       P00000029804    PHMSA           https://hip.phmsa.dot.g             June 19,
                                            2018                                       ov/ (last visited Apr.              2018
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177   Research, Development, and          Dec.      P00000026778-    U.S. Dep’t of   https://www.transporta      April 26,
      Technology Strategic Plan: FY 2017– 2016      P00000026909     Transp          tion.gov/sites/dot.gov/     2018
      2021                                                                           files/docs/USDOT-
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178   Inventory of U.S. Greenhouse Gas    2018      P00000029104-    U.S. Envtl.     https://www.epa.gov/s       June 15,
      Emissions and Sinks 1990-2016                 P00000029758     Protection      ites/production/files/2     2018
                                                                     Agency          018-
                                                                                     01/documents/2018_c
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179   Overview                            N/D       P00000028474-    Fed. Railroad   https://www.fra.dot.go      April 22,
                                                    P00000028475     Admin           v/Page/P0351                2018
180   Freight Facts and Figures 2017      2017      P00000027156-    U.S. Dep’t of   https://www.bts.gov/si      June
                                                    P00000027263     Transp          tes/bts.dot.gov/files/do    15,2018
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181   Movements of Crude Oil and Selected N/D       P00000028481-    U.S. Energy     https://www.eia.gov/d       April 22,
      Products by Rail                              P00000028482     Info. Admin.,   nav/pet/pet_move_rail       2018
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182   Transporting Crude Oil by Rail:      Oct. 30,   P00000028483-   Daniel Shea,    http://www.ncsl.org/re     April 22,
      State and Federal Action             2015       P00000028490    Kristy          search/energy/transpor     2018
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                                                                                      action.aspx.
183   Transportation Statistics Annual     2016       P00000026910-   U.S. Dep’t of   https://www.bts.gov/si     June 14,
      Report                                          P00000027155    Transp          tes/bts.dot.gov/files/do   2018
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184   Aviation and Climate Change:         June       P00000028112-   U.S. Gov’t      https://www.gao.gov/a      April 26,
      Aircraft Emissions Expected to       2009       P00000028211    Accountabilit   ssets/300/290594.pdf       2018
      Grow, but Technological and                                     y Office
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      Government Policies Can Help
      Control Emission
185   Airline Fuel Cost and Consumption    2018       P00000029788-   U.S. Dep’t of   https://www.transtats.     June 15,
      (U.S. Carriers – Scheduled)                     P00000029795    Transp          bts.gov/fuel.asp           2018
186   Aviation Emissions, Impacts &        Jan.       P00000026475-   Fed. Aviation   https://www.faa.gov/re     May 8,
      Mitigation: A Primer                 2015       P00000026516    Admin           gulations_policies/poli    2018
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187   Aviation Environmental and Energy    July       P00000026466-   Fed. Aviation   https://www.faa.gov/a      May 8,
      Policy Statement                     2012       P00000026474    Admin           bout/office_org/headq      2018
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188   Busting Myths about the FAA and      N/D        P00000029101-   Fed. Aviation   https://www.faa.gov/n      May 8,
      Unmanned Aircraft                               P00000029103    Admin           ews/updates/?newsId=       2018


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189   Deepwater Port Licensing Program:   N/D      P00000029796-    MARAD          https://www.marad.dot   June 15,
      Welcome to the Maritime                      P00000029797                    .gov/ports/office-of-   2018
      Administration’s Deepwater Port                                              deepwater-ports-and-
      Licensing for LNG and Oil Webpage                                            offshore-activities/
190   Deepwater Port Licensing Program:   N/D      P00000029798-    MARAD          https://www.marad.dot   June 15,
      Approved Applications and                    P00000029803                    .gov/ports/office-of-   2018
      Operational Facilities                                                       deepwater-ports-and-
                                                                                   offshore-activities/




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                                                                                                                     Date
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                                                                                         Website URL for           Plaintiffs
Exh.            Title of Document             Date     Bates Numbers     Author of
                                                                                           Document                Accessed
                                                                         Document
                                                                                                                  Document
191    Federal Land Ownership:              Mar. 3,    P00000024557-   Congressional    https://fas.org/sgp/crs   Mar. 9,
       Overview and Data                    2017       P00000024584    Research         /misc/R42346.pdf          2018
                                                                       Service
192    Public Land Statistics 2015          May        P00000024610-   U.S. DOI,        https://www.blm.gov       Feb. 27,
                                            2016       P00000024885    Bureau of Land   /sites/blm.gov/files/d    2018
                                                                       Management       ocuments/files/Public
                                                                                        %20Land%20Statisti
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193    Federal Land Ownership: Overview     Mar. 3,    P00000024557-   Carol Hardy      https://fas.org/sgp/crs   Mar. 9,
       and Data                             2017       P00000024584    Vincent;         /misc/R42346.pdf.         2018
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194    New Energy Frontier                  Jan. 13,   P00000020743-   U.S. DOI         https://www.doi.gov/      May 1,
                                            2012       P00000020756                     sites/doi.opengov.ib      2018
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195    How it Works: Coal                   N/D        P00000024957-   U.S. DOI,        https://revenuedata.d     May 3,
                                                       P00000024962    Natural          oi.gov/how-it-            2018
                                                                       Resources        works/coal/
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196    Discretionary Programmatic           Jan. 15,   P00000024079-   U.S. DOI         https://www.blm.gov Mar. 9,
       Environmental Impact Statement to    2016       P00000024088                     /sites/blm.gov/files/pr 2018


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      Modernize the Federal Coal                                                       ograms_energyandmi
      Program                                                                          nerals_coalSO3338.p
                                                                                       df
197   Energy Fast Facts                    N/D        P00000024963-   U.S. DOI         https://www.doi.gov/    May 3,
                                                      P00000024967                     energy/fast-facts       2018
198   Coal Data Browser                    N/D        P00000024968-   U.S. Energy      https://www.eia.gov/    May 3,
                                                      P00000024969    Information      coal/data/browser/      2018
                                                                      Administration
199   Electricity Data Browser             N/D        P00000024940-   U.S. Energy    https://www.eia.gov/      Mar. 11,
                                                      P00000024941    Information    electricity/data/brows    2018
                                                                      Administration er
200   2 Final Environmental Impact         N/D        P00000024110-   Bureau of Land https://eplanning.blm     May 3,
      Statement: Eastern Powder River                 P00000024327    Management     .gov/epl-                 2018
      Coal                                                                           frontoffice/projects/n
      Basin of Wyoming                                                               epa/67005/82492/984
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                                                                                     2.pdf
201   BLM Oil and Gas Lease Sales          Jan. 31,   P00000024970-   Bureau of Land https://www.blm.gov       May 3,
      Generate $360 Million in 2017: Total 2018       P00000024972    Management     /press-release/blm-       2018
      Is Highest in Nearly a Decade                                                  oil-andgas-lease-
                                                                                     sales-generate-360-
                                                                                     million-2017.
202   Press Release: Secretary Zinke       Jan. 4,    P00000024973-   U.S. DOI       https://www.doi.gov/      May 3,
      Announces Plan for Unleashing        2018       P00000024979                   pressreleases/secretar    2018
      America’s Offshore Oil and                                                     y-zinke-announces-
                                                                                     plan-unleashing-
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                                                                                     and-gas-potential.
203   Discretionary Programmatic           Jan. 15,   P00000024079-   U.S. DOI       https://www.blm.gov       Mar. 9,
      Environmental Impact Statement to    2016       P00000024088                   /sites/blm.gov/files/pr   2018


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      Modernize the Federal Coal                                                     ograms_energyandmi
      Program                                                                        nerals_coalSO3338.p
                                                                                     df
204   Coal                                 N/D        P00000024895-   Bureau of Land https://www.blm.gov       Mar. 9,
                                                      P00000024899    Management     /programs/energy-         2018
                                                                                     and-minerals/coal
205   Coal Data                            N/D        P00000024595    Bureau of Land https://www.blm.gov       Feb. 28,
                                                                      Management     /programs/energy-         2018
                                                                                     and-
                                                                                     minerals/coal/coal-
                                                                                     data
206   Instruction Memorandum: Updating     Jan. 31,   P00000024980-   Bureau of Land https://www.blm.gov       May 3,
      Oil and Gas Leasing Reform – Land    2018       P00000024989    Management     /policy/im-2018-034.      2018
      Use Planning and Lease Parcel
      Reviews
207   Oil and Gas Statistics               N/D        P00000025010    Bureau of Land https://www.blm.gov       Feb. 27,
                                                                      Management     /programs/energy-         2018
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208   New Energy Frontier                  Jan. 13,   P00000020743-   U.S. DOI       https://www.doi.gov/      May 1,
                                           2012       P00000020756                   sites/doi.opengov.ib      2018
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209   U.S. Crude Oil and Natural Gas       June 22,   P00000024096-   Marc           https://fas.org/sgp/crs   Feb. 28,
      Production in Federal and            2016       P00000024109    Humphries;     /misc/R42432.pdf.         2018
      Nonfederal Areas                                                Congressional
                                                                      Service
210   BLM Releases Statistics on Oil and   Apr. 11,   P00000025011-   U.S. DOI,      https://www.blm.gov       June 14,


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      Gas Activity on Federal, Indian        2016       P00000025014    Bureau of Land /press-                   2018
      Lands                                                             Management     release/blmreleases-
                                                                                       statistics-oil-and-gas-
                                                                                       activity-federal-
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211   U.S. Crude Oil and Natural Gas         June 22,   P00000024096-   Marc           https://fas.org/sgp/crs   Feb. 28,
      Production in Federal and              2016       P00000024109    Humphries,     /misc/R42432.pdf          2018
      Nonfederal Areas                                                  Congressional
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212   Interior Department Supported $106     June 17,   P00000024900-   U.S. DOI       https://www.doi.gov/      Mar. 9,
      Billion in Recreation, Conservation,   2016       P00000024906                   pressreleases/interior    2018
      Water and Renewable Energy                                                       -department-
      Investments, Supporting More than                                                supported106-billion-
      860,000 Jobs in FY 2015                                                          recreation-
                                                                                       conservation-water-
                                                                                       and-renewable.
213   Total Number of Leases in Effect       N/D        P00000024585-   U.S. DOI       https://www.blm.gov       Feb. 27,
                                                        P00000024594                   /sites/blm.gov/files/oi   2018
                                                                                       landgas_ogstatistics_
                                                                                       t2totalnumberleasesi
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214   Sales of Fossil Fuels Produced from    July       P00000024043-   U.S. Energy    https://www.eia.gov/      Mar. 11,
      Federal and Indian Lands, FY 2003      2015       P00000024078    Information    analysis/requests/fed     2018
      through FY 2014                                                   Administration erallands/pdf/eiafeder
                                                                                       allandsales.pdf.
215   New Energy Frontier                    Jan. 13,   P00000020743-   U.S. DOI       https://www.doi.gov/      May 1,
                                             2012       P00000020756                   sites/doi.opengov.ib      2018
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      Statement of Abigail Ross Hopper,    Mar. 2,    P00000024089-   U.S. DOI,        https://www.boem.go June 14,
      Director, Bureau of Ocean Energy     2016       P00000024095    Bureau of        v/FY2017-Budget-    2018
      Management, U.S. Department of the                              Ocean Energy     Testimony-03-01-
      Interior: Before the                                            Management       2016.
      House Committee on Natural
      Resources Subcommittee on Energy
      and Mineral Resources
216   Annual Summary of Production for     Mar. 6,    P00000024886    U.S. DOI,        https://www.data.boe Mar. 9,
      Entire Region 2005-2018              2018                       Bureau of        m.gov/Production/Fil 2018
                                                                      Safety and       es/Annual%20Produc
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                                                                      Enforcement,     %20Present.pdf.
                                                                      Gulf of Mexico
                                                                      Region
217   Annual Summary of Production for     May 4,     P00000020449    U.S. DOI,        https://www.data.boe Mar. 9,
      Entire Region 2000-2004              2006                       Minerals         m.gov/Production/Fil 2018
                                                                      Management       es/Annual%20Produc
                                                                      Service, Gulf    tion%202000%20-
                                                                      of Mexico        %202004.pdf.
                                                                      Region
218   Annual Summary of                    May 4,     P00000020450    U.S. DOI,        https://www.data.boe Mar. 9,
      Production for Entire Region 1995-   2006                       Minerals         m.gov/Production/Fil 2018
      1999                                                            Management       es/Annual%20Produc
                                                                      Service, Gulf    tion%201995%20-
                                                                      of Mexico        %201999.pdf.
                                                                      Region
219   Annual Summary of Production for     Oct. 14,   P00000024887    U.S. DOI,        https://www.data.boe Mar. 9,
      Entire Region 1989-1994              1997                       Minerals         m.gov/Production/Fil 2018
                                                                      Management       es/Region%20Produc


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                                                                     Service, Gulf   tion%20by%20Year
                                                                     of Mexico       %201989-
                                                                     Region          1994.pdf.
220   Annual Summary of Production for    Oct. 14,   P00000024888    U.S. DOI,       https://www.data.boe   Mar. 9,
      Entire Region 1983-1988             1997                       Minerals        m.gov/Production/Fil   2018
                                                                     Management      es/Region%20Produc
                                                                     Service, Gulf   tion%20by%20Year
                                                                     of Mexico       %201983-
                                                                     Region          1988.pdf.
221   Annual Summary of Production for    Oct. 14,   P00000024889    U.S. DOI,       https://www.data.boe   Mar. 9,
      Entire Region 1977-1982             1997                       Minerals        m.gov/Production/Fil   2018
                                                                     Management      es/Region%20Produc
                                                                     Service, Gulf   tion%20by%20Year
                                                                     of Mexico       %201977-
                                                                     Region          1982.pdf.
222   Annual Summary of Production for    Oct. 14,   P00000024890    U.S. DOI,       https://www.data.boe   Mar. 9,
      Entire Region 1971-1976             1997                       Minerals        m.gov/Production/Fil   2018
                                                                     Management      es/Region%20Produc
                                                                     Service, Gulf   tion%20by%20Year
                                                                     of Mexico       %201971- 1976.pdf.
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223   Annual Summary of Production for    Oct. 14,   P00000024891    U.S. DOI,       https://www.data.boe   Mar. 9,
      Entire Region 1965-1970             1997                       Minerals        m.gov/Production/Fil   2018
                                                                     Management      es/Region%20Produc
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                                                                     of Mexico       %201965-
                                                                     Region          1970.pdf.
224   Annual Summary of Production for    Oct. 14,   P00000024892    U.S. DOI,       https://www.data.boe   Mar. 9,
      Entire Region 1959-1964             1997                       Minerals        m.gov/Production/Fil   2018
                                                                     Management      es/Region%20Produc


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                                                                     Service, Gulf      tion%20by%20Year
                                                                     of Mexico          %201959-
                                                                     Region             1964.pdf.
225   Annual Summary of Production for    Oct. 14,   P00000024893    U.S. DOI,          https://www.data.boe     Mar. 9,
      Entire Region 1953-1958             1997                       Minerals           m.gov/Production/Fil     2018
                                                                     Management         es/Region%20Produc
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                                                                     of Mexico          %201953-
                                                                     Region             1958.pdf.
226   Annual Summary of Production for    Oct. 14,   P00000024894    U.S. DOI,          https://www.data.boe     Mar. 9,
      Entire Region 1947-1952             1997                       Minerals           m.gov/Production/Fil     2018
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227   Strategic Petroleum Reserve         N/D        P00000024907-   U.S. DOI,          https://energy.gov/fe/   Mar. 9,
                                                     P00000024912    Office of Fossil   services/petroleum-      2018
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228   Remarks by President Trump at       Mar. 28,   P00000024990-   The White          https://www.whiteho      May 3,
      Signing Executive Order to Create   2017       P00000024994    House              use.gov/briefings-       2018
      Energy Independence                                                               statements/remarkspr
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                                                                                        independence
382   Remarks by President Trump at                  P00000029950-   The White          https://www.whiteho      June 1,
      Signing of Executive Order on an               P00000029954    House              use.gov/briefings-       2018
      American-First Offshore Energy                                                    statements/remarks-
      Strategy                                                                          president-trump-


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229   2019 Beaufort Sea OCS Oil and Gas   N/D        P00000024995    BOEM            https://www.boem.go    May 3,
      Lease Sale                                                                     v/beaufort-call/       2018
230   BOEM to Extend Call for             Apr. 25,   P00000024996    BOEM            https://www.boem.go    May 3,
      Information and Nominations for     2018                                       v/press04252018/.      2018
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      2019 Beaufort Sea Lease Sale
231   Presidential Memorandum             Jan. 24,   P00000024997-   The White      https://www.whiteho     May 3,
      Regarding Construction of the       2017       P00000025000    House          use.gov/presidential-   2018
      Keystone XL Pipeline                                                          actions/presidential-
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232   President Trump Takes Action to     Jan. 24,   P00000025001-   The White      https://www.whiteho     May 3,
      Expedite Priority Energy and        2017       P00000025004    House          use.gov/briefings-      2018
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233   Livestock Grazing on Public Lands   N/D        P00000024913-   U.S. DOI,      https://www.blm.gov     Mar. 9,
                                                     P00000024916    Bureau of Land /programs/natural-      2018
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                                                                                    grazing


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234   Public Land Statistics 2015          May       P00000024610-    U.S. DOI,      https://www.blm.gov       Feb. 27,
                                           2016      P00000024885     Bureau of Land /sites/blm.gov/files/d    2018
                                                                      Management     ocuments/files/Public
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235   Public Land Statistics 2014          May       P00000023763-    U.S. DOI,      https://www.blm.gov       Feb. 27,
                                           2015      P00000024042     Bureau of Land /sites/blm.gov/files/pl   2018
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236   Public Land Statistics 2013          2014      P00000037603-    U.S. DOI,      https://www.blm.gov       Feb. 27,
                                                     P00000037882     Bureau of Land /sites/blm.gov/files/pl   2018
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237   Public Land Statistics 2012          June      P00000023479-    U.S. DOI,      https://www.blm.gov       Feb. 27,
                                           2013      P00000023762     Bureau of Land /sites/blm.gov/files/pl   2018
                                                                      Management     s2012-web.pdf
238   Public Land Statistics 2011          May       P00000020757-    U.S. DOI,      https://www.blm.gov       Feb. 27,
                                           2012      P00000021042     Bureau of Land /sites/blm.gov/files/pl   2018
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239   Public Land Statistics 2010          June      P00000020453-    U.S. DOI,      https://www.blm.gov       Feb. 27,
                                           2011      P00000020742     Bureau of Land /sites/blm.gov/files/pl   2018
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240   Public Land Statistics 2009          May       P00000021043-    U.S. DOI,      https://www.blm.gov       Feb. 27,
                                           2010      P00000021317     Bureau of Land /sites/blm.gov/files/pl   2018
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241   Public Land Statistics 2008          May       P00000021318-    U.S. DOI,      https://www.blm.gov       Feb. 27,
                                           2009      P00000021587     Bureau of Land /sites/blm.gov/files/pl   2018
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242   Public Land Statistics 2007          May       P00000021588-    U.S. DOI,      https://www.blm.gov       Feb. 27,
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243   Public Land Statistics 2006          Apr.       P00000021855-   U.S. DOI,        https://www.blm.gov       Feb. 27,
                                           2007       P00000022118    Bureau of Land   /sites/blm.gov/files/pl   2018
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244   Public Land Statistics 2005          Apr.       P00000022119-   U.S. DOI,        https://www.blm.gov       Feb. 27,
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245   Public Land Statistics 2004          Apr.       P00000022380-   U.S. DOI,        https://www.blm.gov       Feb. 27,
                                           2005       P00000022646    Bureau of Land   /sites/blm.gov/files/pl   2018
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246   Public Land Statistics 2003          N/D        P00000022647-   U.S. DOI,        https://www.blm.gov       Feb. 27,
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247   Public Land Statistics 2002          N/D        P00000022932-   U.S. DOI,        https://www.blm.gov       Feb. 27,
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248   Public Land Statistics 2001          N/D        P00000023209-   U.S. DOI,        https://www.blm.gov       Feb. 27,
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249   Public Land Statistics 1999          Mar.       P00000024917-   U.S. DOI,        https://www.blm.gov       Mar. 9,
                                           2000       P00000024923    Bureau of Land   /public_land_statistic    2018
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250   Public Land Statistics 1998          Mar.       P00000024924-   U.S. DOI,        https://www.blm.gov       Mar. 9,
                                           1999       P00000024929    Bureau of Land   /public_land_statistic    2018
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251   Public Land Statistics 1997          Mar.       P00000024930-   U.S. DOI,        https://www.blm.gov       Mar. 9,
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252   Public Land Statistics 1996          Dec. 31,   P00000024936-   U.S. DOI,        https://www.gpo.gov/      Mar. 9,
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253   Interior Department Supported $106     June 17,   P00000024900-   U.S. DOI         https://www.doi.gov/     Mar. 9,
      Billion in Recreation, Conservation,   2016       P00000024906                     pressreleases/interior   2018
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      Investments, Supporting More than                                                  supported106-billion-
      860,000 Jobs in FY 2015                                                            recreation-
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254   Wildlife Refuge Oil and Gas Activity   Oct. 31,   P00000020433-   U.S.             http:www.gao.gov/ne      Mar. 9,
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255   Non-Federal Oil and Gas Activities     Nov.       P00000024328-   U.S. Fish and  https://www.fws.gov/       Mar. 9,
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256   Fact Sheet on Methane and Waste        N/D        P00000024330-   U.S. DOI       https://www.doi.gov/       Feb. 27,
      Prevention Rule                                   P00000024333                   sites/doi.gov/files/upl    2018
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257   Regulatory Impact Analysis for 43      Nov. 10,   P00000024334-   U.S. DOI,      https://www.regulatio      Feb. 27,
      CFR                                    2016       P00000024500    Bureau of Land ns.gov/contentStream       2018
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258   OCS Oil and Natural Gas: Potential     Nov.       P00000024501-   E. Wolvovsky https://www.boem.go          Feb. 27,


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259   New Energy Frontier                  Jan. 13,   P00000020743-   U.S. DOI       https://www.doi.gov/     May 1,
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260   Powering Up Renewable Energy on      Sep. 12,   P00000024943-   U.S. DOI       https://www.doi.gov/     May 1,
      Public Lands                         2016       P00000024951                   blog/powering-           2018
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261   Wind Energy Fact Sheet               Mar.       P00000024942    U.S. DOI,      https://www.blm.gov      May 1,
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262   Solar Energy Fact Sheet              Mar.       P00000037602    U.S. DOI,      https://www.blm.gov      June 1,
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263   Powering Up Renewable Energy on      Sep. 12,   P00000024943-   U.S. DOI       https://www.doi.gov/     May 1,
      Public Lands                         2016       P00000024951                   blog/powering-           2018
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264   The U.S. Geological Survey’s Gas     Jan.       P00000024606-   USGS           https://pubs.usgs.gov/   June 14,
      Hydrates Project                     2018       P00000024609                   fs/2017/3079/fs2017      2018
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265   Gas Hydrates on Alaska’s North       Nov. 11,   P00000025005    Jessica        https://www.usgs.gov     May 3,


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266   News Release: Gas Hydrates on       Nov. 12,     P00000024952-   U.S. DOI      https://www.doi.gov/      May 1,
      Alaska’s North Slope Hold One of    2008         P00000024953                  sites/doi.gov/files/arc   2018
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      Technically Recoverable Natural Gas                                            _News_Releases/111
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267   New Interior Department Survey        Dec. 22,   P00000024954-   USGS          https://www.usgs.gov      May 1,
      Shows Significant Increase in         2017       P00000024956                  /news/new-interior-       2018
      Recoverable Energy Resources in                                                department-survey-
      Federal, State and Tribal Lands and                                            shows-significant-
      Waters in Alaska                                                               increaserecoverable-
                                                                                     energy-resources-
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                                                                                                                   Date
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                                                          Bates                          Website URL for         Plaintiffs
Exh.             Title of Document           Date                        Author of
                                                         Numbers                           Document              Accessed
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268    Issue Summary: Energy               ND         P00000019919     Gov’t           https://www.gao.gov/k May 6,
       Management in DOD Facilities                                    Accountabilit   ey_issues/energy_man 2018
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269    Federal Land Ownership: Overview    March 3,   P00000019626-    Congressional   https://fas.org/sgp/crs/ June 13,
       & Data                              2017       P00000019653     Review          misc/R42346.pdf          2018
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270    Annual Energy Management Report     June,      P00000019314-    Department of https://www.acq.osd.      June 13,
       Fiscal Year 2015                    2016       P00000019464     Defense       mil/eie/downloads/ie/f    2018
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271    Defense                             ND         P00000020214-    Nat’l         https://www.nrel.gov/     June 13,
                                                      P00000020217     Renewable     workingwithus/defens      2018
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272    Comprehensive Annual Energy Data    ND         P00000020301-    U.S. Dep’t of http://ctsedwweb.ee.do    June 21,
       and Sustainability Performance                 P00000020302     Energy        e.gov/Annual/Report/      2018
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273    Today in Energy                     February   P00000020218-    EIA           https://www.eia.gov/to    June 13,
                                           5, 2015    P00000020219                   dayinenergy/detail.php    2018
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274   Annual Energy Management Report      June,       P00000019314-   Department of https://www.acq.osd.      June 13,
      Fiscal Year 2015                     2016        P00000019464    Defense       mil/eie/downloads/ie/f    2018
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275   Implications for US National         Septembe P00000019557-      Nat’l         https://www.dni.gov/fi    May 7,
      Security of Anticipated Climate      r 21,    P00000019569       Intelligence  les/documents/Newsro      2018
      Change                               2016                        Council       om/Reports%20and%
                                                                                     20Pubs/Implications_f
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276   Screening-Level Assessment of        June,       P00000019290-   U.S. Army     http://www.corpsclima     May 7,
      Projects with Respect to Sea Level   2015        P00000019313    Corps of      te.us/docs/CESL_Scre      2018
      Change                                                           Eng'rs        ening_level_assessme
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277   Climate Preparedness and             ND          P00000019920-   U.S. Army     http://www.corpsclima     May 6,
      Resilience: Climate Change                       P00000019921    Corps of      te.us/ccaceslcurves.cf    2018
      Adaptation                                                       Eng'rs        m
278   Military Expert Panel Report: Sea    February,   P00000019859-   The Ctr. for  https://climateandsecu    May 7,
      Level Rise and the U.S. Military’s   2018        P00000019918    Climate &     rity.files.wordpress.co   2018
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279   Implications for US National         Septembe P00000019557-      Nat’l         https://www.dni.gov/fi    May 7,
      Security of Anticipated Climate      r 21,    P00000019569       Intelligence  les/documents/Newsro      2018
      Change                               2016                        Council       om/Reports%20and%


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280   Climate-Related Risk to DoD           January,   P00000019827-   Department of https://climateandsecu       June 13,
      Infrastructure: Initial Vulnerability 2018       P00000019858    Defense       rity.files.wordpress.co      2018
      Assessment Survey (SLVAS) Report                                               m/2018/01/tab-b-
      2 (2018)                                                                       slvas-report-1-24-
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281   Secretary of Defense Speech,          October    P00000020220-   Department of https://www.defense.g        June 21,
      Conference of Defense Ministers of    13, 2014   P00000020224    Defense       ov/News/Speeches/Sp          2018
      the Americas, As Prepared For                                                  eech-
      Delivery by Secretary of Defense                                               View/Article/605617/
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      October 13, 2014
282   National Security and the Threat of   2007       P00000019241-   The CNA         https://www.cna.org/c      May 7,
      Climate Change 7 (2007)                          P00000019275    Corp.           na_files/pdf/national%     2018
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283   National Intelligence Assessment on June 25,     P00000018465-   House           https://fas.org/irp/cong   June 13,
      the National Security Implications of 2008       P00000018485    Permanent       ress/2008_hr/062508fi      2018
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      Thomas Fingar                                                    Intelligence,
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284   Climate Change and National         July 30,    P00000020225-   Dennis          https://www.gpo.gov/f     June 13,
      Security: Hearing Before the S.     2009        P00000020258    McGinn,         dsys/pkg/CHRG-            2018
      Comm. on Env’t & Public Works,                                  Center for      111shrg99882/html/C
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285   The Joint Operating Environment     February    P00000018694-   U.S. Joint      https://fas.org/man/epr   May 7,
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286   Powering America’s Defense:         May,        P00000018492-   The CNA         https://www.cna.org/c     May 7,
      Energy and the Risks to National    2009        P00000018565    Corp.           na_files/pdf/MAB_2-       2018
      Security                                                                        FINAL.pdf
287   Climate Change Adaptation: DOD      Novembe P00000019730-       U.S. Gov’t      https://www.gao.gov/a     May 7,
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      Adaptation into Planning and                                    y Office
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      Installations 11 (2017)
288   Quadrennial Defense Review Report   February,   P00000018566-   Department of https://www.defense.g       May 7,
      85 (2010)                           2010        P00000018693    Defense       ov/Portals/1/features/d     2018
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289   Quadrennial Defense Review 2014,    March 4,    P00000019062-   Department of https://www.defense.g       May 7,
      at VI (2014)                        2014        P00000019149    Defense       ov/Portals/1/features/d     2018
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290   2014 Climate Change Adaptation      2014        P00000019221-   Department of https://www.acq.osd.        May 7,
      Roadmap (2014)                                  P00000019240    Defense       mil/eie/Downloads/CC        2018


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291   Response to Congressional Inquiry      July 23,   P00000019276-   Department of http://archive.defense.   May 7,
      on National Security Implications of   2015       P00000019289    Defense       gov/pubs/150724-          2018
      Climate-Related Risks and a                                                     congressional-report-
      Changing Climate 14 (2015)                                                      on-national-
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292   Implications for US National           Septembe P00000019557-     Nat'l         https://www.dni.gov/fi    May 7,
      Security of Anticipated Climate        r 21,    P00000019569      Intelligence  les/documents/Newsro      2018
      Change 3 (2016)                        2016                       Council       om/Reports%20and%
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293   Trump’s Defense Secretary Cites     March         P00000020303-   Andrew        https://www.propublic     June 21,
      Climate Change as National Security 14, 2017      P00000020308    Revkin        a.org/article/trumps-     2018
      Challenge                                                                       defense-secretary-
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294   Summary of the 2018 National           2018       P00000019813-   Department of https://www.defense.g     May 7,
      Defense Strategy of the United                    P00000019826    Defense       ov/Portals/1/Documen      2018
      States of America                                                               ts/pubs/2018-National-




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295   City of Imperial Beach, et al. v.    July 17,   P00000019690-    N.D.           No. 4:17-cv-04934         June 19,
      Chevron Corp., et al.                2017       P00000019727     California     (N.D. Cal.) (filed Aug.   2018
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296   Relocation Planning Project Master   June,      P00000018329-    U.S. Army      http://www.poa.usace.     May 7,
      Plan: Kivalina, Alaska (2006)        2006       P00000018464     Corps of       army.mil/Portals/34/d     2018
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297   Alaska District, AVETA Report        ND         P00000018486-    U.S. Army      http://www.poa.usace.     June 13,
      Summary – Shishmaref, Alaska                    P00000018491     Corps of       army.mil/Portals/34/d     2018
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298   R44880, Oil and Natural Gas          June 28,   P00000019657-    Cong.          https://www.everycrsr     June 13,
      Pipelines: Role of the U.S. Army     2017       P00000019689     Research       eport.com/files/20170     2018
      Corps of Engineers (2017)                                        Serv.          628_R44880_1105a52
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299   Global Climate Change and            May,       P00000035548-    U.S. Naval     http://documents.thebl    June 13,
      Implications for the United States   1990       P00000035634     War College    ackvault.com/docume       2018
      Navy (May 1990)                                                                 nts/weather/climatecha
                                                                                      nge/globalclimatechan
                                                                                      ge-navy.pdf.
300   Corps Grants Easement to Dakota      February   P00000020259     U.S. Army      http://www.nwo.usace      June 13,
      Access, LLC                          8, 2017                     Corps of       .army.mil/Media/New       2018
                                                                       Eng'rs         s-
                                                                                      Releases/Article/1077


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                                                                                    134/corps-grants-
                                                                                    easement-to-dakota-
                                                                                    access-llc/
301   Dakota Access Pipeline: Siting       June 15,   P00000019654-   Paul W.       https://fas.org/sgp/crs/   May 7,
      Controversy, CRS Insight (June 15,   2017       P00000019656    Parfomak      misc/IN10567.pdf.          2018
      2017)
302   Sustainable Solutions to America’s   ND         P00000019150-   U.S. Army     http://cdm16021.conte      May 11,
      Water Resources Needs 8 (2016)                  P00000019185    Corps of      ntdm.oclc.org/utils/get    2018
                                                                      Eng'rs        file/collection/p16021
                                                                                    coll9/id/61
303   U.S. Army Corps of Engineers        October     P00000019922-   U.S. Army     http://www.usace.arm       May 10,
      Issues Report on Nationwide Permits 25, 2017    P00000019923    Corps of      y.mil/Media/News-          2018
                                                                      Eng'rs        Releases/News-
                                                                                    Release-Article-
                                                                                    View/Article/1353578
                                                                                    /us-army-corps-of-
                                                                                    engineers-issues-
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                                                                                    permits/
304   Report on Potential Actions to       Novembe P00000019728-      U.S. Army     82 Fed. Reg. 56,192,       May 11,
      Reduce Regulatory Burdens on         r 28,     P00000019729     Corps of      56,192 (Nov. 28,           2018
      Domestic Energy Production           2017                       Eng'rs        2017)
305   Coal and Coke: Monthly Indicator     April 19, P00000019924     U.S. Army     http://www.navigation      May 10,
      for Internal U.S. Waterways          2018                       Corps of      datacenter.us/wcsc/wc      2018
                                                                      Eng’rs,       mcoal.htm
                                                                      Navigation
                                                                      Data Ctr.
306   The U.S. Waterway System: 2016       2016       P00000019925-   U.S. Army     http://www.navigation      May 11,
      Transportation Facts & Information              P00000019936    Corps of      datacenter.us/factcard/    2018
      4 (2017)                                                        Eng'rs        FactCard2016.pdf


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307   Port Performance Freight Statistics 2017        P00000019937-    U.S. Dep’t of                               May 11,
      Program: Annual Report to Congress              P00000020212     Transp.                                     2018
      4-12
308   Petroleum: Monthly Indicator for    April 19,   P00000020213     U.S. Army         http://www.navigation     May 10,
      Internal U.S. Waterways             2018                         Corps of          datacenter.us/wcsc/wc     2018
                                                                       Eng’rs,           mpetro.htm
                                                                       Navigation
                                                                       Data Ctr.,
                                                                       Waterborne
                                                                       Commerce
                                                                       Statistics Ctr.
309   The U.S. Waterway System: 2016      2016        P00000019925-    U.S. Army         http://www.navigation     May 11,
      Transportation Facts & Information              P00000019936     Corps of          datacenter.us/factcard/   2018
      2 (2017)                                                         Eng'rs            FactCard2016.pdf
310   Port Performance Freight Statistics 2017        P00000019937-    U.S. Dep't of                               May 11,
      Program: Annual Report to Congress              P00000020212     Transp.                                     2018
      4-12 (2017)
311   Ports and Waterways Facilities      ND          Filed            U.S. Army         http://www.navigation     June 21,
                                                      conventionally   Corps of          datacenter.us/ports/por   2018
                                                      with the Court   Eng’rs,           ts.htm
                                                                       Navigation
                                                                       Data Ctr.
312   2014 Climate Change Adaptation      2014        P00000019221-    Department of https://www.acq.osd.          May 7,
      Roadmap                                         P00000019240     Defense       mil/EIE/Downloads/C           2018
                                                                                     CARprint_wForward_
                                                                                     e.pdf
313   Secretary of Defense Speech,        Novembe P00000020260-        Department of http://archive.defense.       June 13,
      Halifax Int’l Security Forum (DoD   r 22,   P00000020263         Defense       gov/Speeches/Speech.          2018
      Arctic Strategy) (Nov. 22, 2013)    2013                                       aspx?SpeechID=1821



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314   National Security Strategy (February     February,   P00000019186-   President of  http://nssarchive.us/w     June 13,
      2015)                                    2015        P00000019220    the U.S.      p-                         2018
                                                                                         content/uploads/2015/
                                                                                         02/2015.pdf
315   Strategic Sustainability Performance     Septembe P00000019465-      Department of https://www.denix.osd      May 7,
      Plan, FY 2016 (Sept. 7, 2016)            r 7, 2016 P00000019556      Defense       .mil/sustainability/dod    2018
                                                                                         -
                                                                                         sspp/unassigned/depar
                                                                                         tment-of-defense-
                                                                                         strategic-
                                                                                         sustainability-
                                                                                         performance-plan-fy-
                                                                                         2016/
316   Global Climate Change and                May,        P00000035548-   The U.S.      http://documents.thebl     June 13,
      Implications for the United States       1990        P00000035634    Naval War     ackvault.com/docume        2018
      Navy (May 1990)                                                      College       nts/weather/climatecha
                                                                                         nge/globalclimatechan
                                                                                         ge-navy.pdf
317   Strategic Environmental Research &       January,    P00000018994-   Department of https://climateandsecu     June 13,
      Development Program, Assessing           2013        P00000019061    Defense       rity.files.wordpress.co    2018
      Impacts of Climate Change on                                                       m/2014/01/serdp-
      Coastal Military Installations: Policy                                             coastal-assessment-
      Implications (January 2013)                                                        white-paper_january-
                                                                                         2013.pdf
318   News Transcript, DOD News                June 14,    P00000020264-   Department of http://archive.defense.    June 13,
      Briefing with Deputy Secretary           2011        P00000020268    Defense       gov/transcripts/transcri   2018
      Lynn and Assistant Secretary Burke                                                 pt.aspx?transcriptid=4
      from the Pentagon on the DOD                                                       840
      Operational Energy Strategy




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319   Nomination Hearing: James Mattis,     ND        P00000019570-   Department of https://www.armed-         June 21,
      Secretary of Defense, Committee on              P00000019625    Defense       services.senate.gov/he     2018
      Armed Services, U.S. Senate, One                                              arings/17-01-12-
      Hundred Fiftheenth Congress, First                                            confirmation-
      Session (January 12, 2017)                                                    hearing_-mattis. See
                                                                                    Advanced Policy
                                                                                    Questions.
320   Climate Change Roadmap (April         May 21,   P00000018770-   U.S. Navy     http://www.navy.mil/n      June 13,
      2010)                                 2010      P00000018797                  avydata/documents/C        2018
                                                                                    CR.pdf
321   “Navy, Energy, Environment and        ND        P00000020269-   U.S. Navy     http://navysustainabilit   June 13,
      Climate Change,”                                P00000020270                  y.dodlive.mil/home/        2018
322   The Discovery of Global Warming       2008      P00000020272-   Spencer                                  June 20,
                                                      P00000020300    Weart                                    2018
323    Historical Perspectives on Climate   1998      P00000020309-   James                                    June 21,
      Change, 121, 123 (1998)                         P00000020323    Fleming                                  2018
324   The Carbon Dioxide Theory of          August 9, P00000029849-   Gilbert Plass                            June 13,
      Climate Change                        1955      P00000029863                                             2018
325    "Carbon Dioxide Exchange             Septembe P00000018190-    Roger Revelle                            June 13,
      Between Atmosphere and Ocean          r 4, 1956 P00000018199    and Hans E.                              2018
      and the Question of an Increase of                              Suess
      Atmospheric CO, during the Past
      Decades,"
326   Report of the International           1957      P00000018200-   Hrg. before                              June 1,
      Geophysical Year                                P00000018328    the Subcomm                              2018
                                                                      of the Comm.
                                                                      on
                                                                      Appropriation
                                                                      s



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327   Scientific Report An Analysis of    April,    P00000018798-    University of   http://www.dtic.mil/dti June 13,
      Carbon Dioxide in the Arctic        1969      P00000018993     Washington,     c/tr/fulltext/u2/690557 2018
      Atmosphere Near Barrow 1961-                                   Dep’t of        .pdf
      1967, Alaska (Office of Naval                                  Atmospheric
      Research Contract No. 00014-67-A-                              Sciences
      0103-0007 NR 307-252) (April
      1969)




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                                                                                                                    Date
                                                   Source /
          Title of                  Bates                                                                         Plaintiffs
Exh.                      Date                    Author of              Website URL for Document
         Document                  Numbers                                                                        Accessed
                                                  Document
                                                                                                                 Document
328    Regulations for    Aug. P00000009997- EPA                https://www.epa.gov/regulations-emissions-      June 18
       Greenhouse         17   P00000009999                     vehicles-and-engines/regulations-greenhouse-    2018
       Gas Emissions      2017                                  gas-emissions-aircraft
       from Aircraft
329    EPA Strategic      Feb.   P00000009270- EPA              https://www.epa.gov/sites/production/files/2018- June 18
       Plan Public        12     P00000009316                   02/documents/fy-2018-2022-epa-strategic-         2018
       Review Draft       2018                                  plan.pdf.
330    Climate            June   P00000026257- EPA                                                               June 1 2018
       Change in the      2015   P00000026352
       United States:
       Benefits of
       Global Action
331    Projecting         Oct. P00000025022- EPA                                                                June 1 2018
       Future Sea         1983 P00000025149
       Level Rise:
       Methodology,
       Estimates to the
       Year 2100 &
       Research Needs
332    The Potential      Dec. P00000007438- EPA                                                                June 18
       Effects of         1989 P00000007908                                                                     2018
       Global Climate
       Change on the
       United States
       Draft Report to


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      Congress
333   Testimony of      Dec. P00000025150- EPA                                                         June 1 2018
      Linda Linda J.    1    P00000025173
      Fisher,           1988
      Assistant
      Administrator
      for Policy,
      Planning, and
      Evaluation for
      the U.S. EPA
334   Environmental     May P00000025174- EPA                                                          June 1 2018
      Protection in     2    P00000025184 Administrator
      the Bush          1989              William K.
      Administration:                     Reilly
      Measures By
      Which to Judge
      Us
335   Policy Options    Dec. P00000007909- EPA                                                         June 18
      for Stabilizing   1990 P00000008481                                                              2018
      Global Climate
336   Response and      Sept. P00000025185- EPA                                                        June 1 2018
      Feedbacks of      1990 P00000025353
      Forest Systems
      to Global
      Climate
      Change
337   Sequestering      Apr. P00000025927- EPA                                                         June 1 2018
      Carbon in         1991 P00000026026
      Soils: A
      Workshop to


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      Explore the
      Potential for
      Mitigating
      Global Climate
      Change
338   Program            June P00000026248- EPA                                                         June 1 2018
      Overview for       1993 P00000026256
      the Adaptation
      Branch of
      EPA’s Climate
      Change
      Division (Office
      of Policy
339   The Probability    Oct. P00000008566- EPA                                                         June 1 2018
      of Sea Level       1995 P00000008761
      Rise,
340   Climate            May P00000026353- EPA                                                          June 1 2018
      Change and the     2016 P00000026356
      Health of
      Children
341   Global             Feb. P00000026027- EPA                                                         June 1 2018
      Methane            1992 P00000026247
      Emissions from
      Livestock and
      Poultry Manure
342   Can We Delay       Sept. P00000007230- EPA                                                        June 20
      A Greenhouse       1983 P00000007437                                                              2018
      Warming?
343   Letter from        Apr.   P00000025015- Paul C.                                                   June 1 2018
      Paul C. Cahill     15     P00000025021 Cahill,


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                         1982               Director of
                                            EPA’s Office
                                            of Federal
                                            Activities
344   Regulations for    Aug. P00000009997- EPA                https://www.epa.gov/regulations-emissions-      June 18
      Greenhouse         17   P00000009999                     vehicles-and-engines/regulations-greenhouse-    2018
      Gas Emissions      2017                                  gas-emissions-aircraft
      from Aircraft
345   EPA Strategic      Feb.   P00000009270- EPA              https://www.epa.gov/sites/production/files/2018- June 18
      Plan Public        12     P00000009316                   02/documents/fy-2018-2022-epa-strategic-         2018
      Review Draft       2018                                  plan.pdf.
346   Climate            June   P00000026257- EPA                                                               June 1 2018
      Change in the      2015   P00000026352
      United States:
      Benefits of
      Global Action
347   Projecting         Oct. P00000025022- EPA                                                                June 1 2018
      Future Sea         1983 P00000025149
      Level Rise:
      Methodology,
      Estimates to the
      Year 2100 &
      Research Needs
348   The Potential      Dec. P00000007438- EPA                                                                June 18
      Effects of         1989 P00000007908                                                                     2018
      Global Climate
      Change on the
      United States
      Draft Report to
      Congress


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349   Testimony of      Dec. P00000025150- EPA                                                         June 1 2018
      Linda Linda J.    1    P00000025173
      Fisher,           1988
      Assistant
      Administrator
      for Policy,
      Planning, and
      Evaluation for
      the U.S. EPA
350   Environmental     May P00000025174- EPA                                                          June 1 2018
      Protection in     2    P00000025184 Administrator
      the Bush          1989              William K.
      Administration:                     Reilly
      Measures By
      Which to Judge
      Us
351   Policy Options    Dec. P00000025354- EPA                                                         June 18
      for Stabilizing   1990 P00000025926                                                              2018
      Global Climate
352   Response and      Sept. P00000025185- EPA                                                        June 1 2018
      Feedbacks of      1990 P00000025353
      Forest Systems
      to Global
      Climate
      Change
353   Sequestering      Apr. P00000025927- EPA                                                         June 1 2018
      Carbon in         1991 P00000026026
      Soils: A
      Workshop to
      Explore the


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      Potential for
      Mitigating
      Global Climate
      Change
354   Program            June P00000026248- EPA                                                         June 1 2018
      Overview for       1993 P00000026256
      the Adaptation
      Branch of
      EPA’s Climate
      Change
      Division (Office
      of Policy
355   The Probability    Oct. P00000008566- EPA                                                         June 1 2018
      of Sea Level       1995 P00000008761
      Rise,
356   Climate            May P00000026353- EPA                                                          June 1 2018
      Change and the     2016 P00000026356
      Health of
      Children
357   Global             Feb. P00000026027- EPA                                                         June 1 2018
      Methane            1992 P00000026247
      Emissions from
      Livestock and
      Poultry Manure




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                                                                                                                            Date
                                                                    Source / Author of        Website URL for             Plaintiffs
Exh.        Title of Document          Date     Bates Numbers
                                                                       Document                 Document                  Accessed
                                                                                                                          Document
358    Historical Geographic Place    Aug. 4,   P00000018151-       NOAA, Office of       https://historicalcharts.noa   May 12,
       Names Removed From             2014      P00000018154        Coast Survey          a.gov/pdfs/HistoricalPlace     2018
       NOAA Charts                                                                        names_Louisiana.pdf

359    Secretary Ross and Secretary July 31, P00000018174-          U.S. Dep’t of         https://www.commerce.go        June 20,
       Perry Hail New Coal Deal     2017     P00000018178           Commerce              v/news/press-                  2018
       with Ukraine                                                                       releases/2017/07/secretary
                                                                                          -ross-and-secretary-perry-
                                                                                          hail-new-coal-deal-
                                                                                          ukraine
360    Climate Change Is              Apr.      P00000018155-       Nicholas Kusnetz;     https://insideclimatenews.     June 18,
       Transforming the Great         19,       P00000018159        Inside Climate News   org/news/19042018/coral-       2018
       Barrier Reef, Likely Forever   2018                                                bleaching-great-barrier-
                                                                                          reef-die-off-climate-
                                                                                          change-ocean-
                                                                                          temperatures-australia
361    U.S. Exports of Crude Oil      May       P00000018179-       U.S. Energy Info.     https://www.eia.gov/dnav/      June 20,
                                      31,       P00000018183        Admin.                pet/hist/LeafHandler.ashx      2018
                                      2018                                                ?n=PET&s=MCREXUS1
                                                                                          &f=A
362    Petroleum and Other            N/D       P00000018184-       U.S. Energy Info.     https://www.eia.gov/dnav/      June 20,
       Liquids: Exports                         P00000018185        Admin.                pet/pet_move_exp_dc_N          2018
                                                                                          US-Z00_mbbl_a.htm (last
                                                                                          visited May 10, 2018).
363    U.S. Crude Oil Exports:        Oct. 28, P00000018046-        Congressional         https://www.energy.senate      June 20,


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      Licensing and Data Issues;     2013    P00000018049         Research Service    .gov/public/index.cfm/file   2018
      Memo to Senate Energy and                                                       s/serve?File_id=73e6832f-
      Natural Resources                                                               9670-445b-b8c5-
      Committee                                                                       9b254d9f5bca
364   U.S. Exports of Finished       May     P00000018186-        U.S. Energy Info.   https://www.eia.gov/dnav/    June 20,
      Petroleum Products             31,     P00000018189         Admin.              pet/hist/LeafHandler.ashx    2018
                                     2018                                             ?n=PET&s=MTPEXUS1
                                                                                      &f=A
365   Petroleum and Other            May     P00000018184-        U.S. Energy Info.   https://www.eia.gov/dnav/    June 20,
      Liquids: Exports               31,     P00000018185         Admin.              pet/pet_move_exp_dc_N        2018
                                     2018                                             US-Z00_mbbl_a.htm
366   Review of National Marine      June    P00000018133-        NOAA                https://www.gpo.gov/fdsy     May 12,
      Sanctuaries and Marine         26,     P00000018135                             s/pkg/FR-2017-06-            2018
      National Monuments             2017                                             26/pdf/2017-13308.pdf.
      Designated or Expanded
      Since April 28, 2007; Notice
      of Opportunity for Public
      Comment
367   Top Markets Series: Oil and    N/D     P00000018160-        U.S. Dep’t of       https://www.trade.gov/top    June 19,
      Gas Equipment                          P00000018161         Commerce, Int’l     markets/oil-and-gas.asp      2018
                                                                  Trade Admin.
368   U.S. Dep’t of Commerce         Oct. 25, P00000018162-       U.S. Dep’t of       https://www.commerce.go      June 19,
      Releases Report on             2017     P00000018166        Commerce            v/news/press-                2018
      Promoting Energy                                                                releases/2017/10/us-
      Independence and Economic                                                       department-commerce-
      Growth Through                                                                  releases-report-promoting-
      Deregulation                                                                    energy-independence-and
369   Op-Ed: Why Addressing          Apr.    P00000018167-        U.S. Dep’t of       https://www.commerce.go      June 19,
      Climate Change Makes Good      22,     P00000018173         Commerce            v/news/opinion-              2018
      Business Sense                 2016                                             editorials/2016/04/op-ed-


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                                                                                  why-addressing-climate-
                                                                                  change-makes-good-
                                                                                  business-sense
370   Letter from Joseph            May     P00000018002         U.S. Energy                                     June 1, 2018
      Smagorinsky, Director         14,                          Research and
                                    1975                         Development
                                                                 Admin.
371   Planning for Sea Level Rise   2011    P00000018003-        NOAA             https://repository.library.n   June 18,
      in the Northeast:                     P00000018045                          oaa.gov/view/noaa/4016.        2018
      Considerations for the
      Implementation of Tidal
      Wetland Habitat Restoration
      Projects
372   U.S. Department of            Oct. 25, P00000018162-       U.S. Dep’t of    https://www.commerce.go        June 19,
      Commerce Releases Report      2017     P00000018166        Commerce         v/news/press-                  2018
      on Promoting Energy                                                         releases/2017/10/us-
      Independence and Economic                                                   department-commerce-
      Growth Through                                                              releases-report-promoting-
      Deregulation                                                                energy-independence-and
373   Top Markets Report            May     P00000018049-        U.S. Dep’t of    https://www.trade.gov/top      June 19,
      Upstream Oil and Gas          2017    P00000018132         Commerce         markets/pdf/Oil_and_Gas        2018
      Equipment                                                                   _Top_Markets_Report.pdf
374   Memorandum from Wilbur        Oct. 25, P00000018136-       U.S. Dep’t of    https://www.commerce.go        June 18,
      Ross (Secretary of            2017     P00000018150        Commerce         v/sites/commerce.gov/file      2018
      Commerce) to Mick                                                           s/the_department_of_com
      Mulvaney (Director, OMB)                                                    merces_final_report_revie
                                                                                  wing_agency_actions_as_
                                                                                  required_by_executive_or
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                                                                                  ergy_independence_and_e


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                                                                                      conomic_growth.pdf
375   The Department of             Oct. 25, P00000018136-       Wilbur               https://www.commerce.go
      Commerce’s Final Report       2017     P00000018150        Ross, Secretary of   v/sites/commerce.gov/file
      Reviewing Agency Actions as                                Commerce; James      s/the_department_of_com
      Required by Executive Order                                Uthmeier,            merces_final_report_revie
      13783, “Promoting Energy                                   Regulatory Reform    wing_agency_actions_as_
      Independence and Economic                                  Officer              required_by_executive_or
      Growth”; Memo to Mick                                                           der_13783_promoting_en
      Mulvaney                                                                        ergy_independence_and_e
                                                                                      conomic_growth.pdf




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